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                 Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 1 of 46 PageID #:244

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                                     !'(!'&''&&'%'"(%'
                                    "%'!"%'%!&'%'"!"&
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                ("+%'")'$ '                              
                /<2"'%((                                       
                  %$&#!"            
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                                                                     
                         #"                                 @031(/@/"::7A
                                                                     
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                (%$.&)*'($)')$#$)
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                      )67A5@33;3<BJ5@33;3<BK=@J(3BB:3;3<B5@33;3<BK7A3<B3@327<B=0G/<2/;=<5

            7&:/7<B744A(/:D/2=@3:B@/< @/<2:7@=AAJ&:/7<B744AK77B63(3BB:3;3<B:/AA/A

            2347<3263@37</<2777@C<16G@=::""2347<32/AJ343<2/<BK4=@>C@>=A3A=4B67A

            (3BB:3;3<B5@33;3<B)63(3BB:3;3<B:/AA/<2&:/7<B744A/@31=::31B7D3:G@343@@32B=/AB63

            J&:/7<B744AKC<:3AA=B63@E7A3<=B32)63&:/7<B744A/<2B63343<2/<B/@31=::31B7D3:G@343@@32B=

            63@37</AB63J&/@B73AK)67A5@33;3<B7A7<B3<2320GB63&/@B73AB=4C::G47</::G/<24=@3D3@

            @3A=:D327A16/@53/<2A3BB:3B63'3:3/A32:/7;A/A2347<3263@37<C>=</<2AC0831BB=B63

            B3@;A/<21=<27B7=<A=4B67A5@33;3<B/<2AC0831BB=B6347</:/>>@=D/:=4B63=C@B

                                                             %'&

                          )67A>CB/B7D31:/AA/1B7=<E/A47:32=<(3>B3;03@               7<B63*<7B32(B/B3A

            7AB@71B=C@B4=@B63$=@B63@<7AB@71B=4::7<=7A)63;/B3@7/:/::35/B7=<A=4B631=;>:/7<B

            13<B3@=<343<2/<BLA/::353227A1:=AC@3=47BAAC0A1@703@AL>3@A=</::G723<B747/0:37<4=@;/B7=<B=

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                 Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 2 of 46 PageID #:245

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            /130==9/<2=B63@B67@2>/@B73A7<1:C27<50CB<=B:7;7B32B===5:3</:GB71A/<22=03

            </:GB71AE7B6=CB>3@;7AA7=<7<D7=:/B7=<=4+723=&@7D/1G&@=B31B7=<1B *(I              #

            " B63J+&&K$= 

                            &:/7<B74447:32/7@AB;3<232=;>:/7<B=<%1B=03@          $=

                            <@3A>=<A3B=B637@AB;3<232=;>:/7<BB63&/@B73A/5@332=</0@7347<5

            A1632C:34=@343<2/<BLA;=B7=<B=27A;7AA

                            %< /<C/@G        &:/7<B744LA47:32/#=B7=<4=@"3/D3B=7:3/(31=<2

            ;3<232=;>:/7<B</;7<5&:/7<B744A(/:D/2=@3:B@/< @/<2:7@=AE6716E/A5@/<B32

            /<2B63(31=<2;3<232=;>:/7<BE/A3<B3@32=<B632=193B$=A                

                            )63@3/4B3@B63&/@B73A/5@332B=AB/GB63;/BB3@B=27A1CAA>=B3<B7/:@3A=:CB7=<

            $=       

                            @=;B63=CBA3B=4B631/A3/<27<1:C27<52C@7<5B63>3<23<1G=4B63;=B7=<B=

            27A;7AAB63&/@B73A3<5/5327<27@31B1=;;C<71/B7=<A/<2/A>/@B=4B637@=0:75/B7=<AC<23@32

            '7D& 27A1CAA32B63>@=A>31B=4@3A=:CB7=<)6=A327A1CAA7=<A:32B=/</5@33;3<B03BE33<

            B63 &/@B73A B= 3<5/53 7< ;327/B7=< E6716 B63 &/@B73A /5@332 E=C:2 B/93 >:/13 034=@3 )63

            =<=@/0:3#=@B=<3<:=E'3B=4 #(671/5=E6=7A/4=@;3@*<7B32(B/B3A#/57AB@/B3

                C2534=@B63$=@B63@<7AB@71B=4::7<=7A/<2/<3CB@/:/B #(7<671/5=

                            A>/@B=4B63;327/B7=</<27<=@23@B=1=;>3B3<B:G/AA3AAB637@@3:/B7D3

            <35=B7/B7<5>=A7B7=<AB63&/@B73A3F16/<5327<4=@;/B7=<7<1:C27<5=<7AAC3AAC16/AB63A7H3/<2

            A1=>3=4B63>CB/B7D31:/AA/<213@B/7<4/1BA@3:/B32B=B63AB@3<5B6=4343<2/<BLA>=B3<B7/:

            2343<A3A7D3<B637<4=@;/B7=<3F16/<532B63&/@B73A6/2AC447173<B7<4=@;/B7=<B=/AA3AAB63

            AB@3<5B6A/<2E3/9<3AA3A=4B631:/7;A/<22343<A3A

                            )6347@AB2/G=4;327/B7=<B==9>:/13=<>@7:        ,67:3B63&/@B73A




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                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 3 of 46 PageID #:246

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            3<5/5327<5==24/7B6<35=B7/B7=<AE6716/B/::B7;3AE3@3/B/@;AL:3<5B6B63G4/7:32B=@3/16

            /</5@33;3<BB6/B2/G=E3D3@031/CA3B63&/@B73A43:BB63G6/2;/23>@=5@3AAB63G/5@332B=

            3FB3<2B63AB/GB=1=<B7<C3B637@;327/B7=<344=@BA

                          %D3@B63<3FBA3D3@/:E339AB63&/@B73A3<5/5327</A31=<22/G=4;327/B7=<

            E7B6 C2533<:=E4=::=E320G/227B7=</:@=C<2A=4/@;AL:3<5B6<35=B7/B7=<A/<2E3@3/0:3B=

            /5@33;3<B=</::;/B3@7/:B3@;A=4/1:/AA/1B7=<A3BB:3;3<B/<23F31CB32/B3@;A633B

                          %<C5CAB          &:/7<B744A47:32/;=B7=<4=@:3/D3B=47:3/)67@2;3<232

            =;>:/7<B

                          B/::B7;3A343<2/<B6/A23<732/<21=<B7<C3AB=23<G/<GE@=<52=7<5

            E6/BA=3D3@/<26/A23<732/<21=<B7<C3AB=23<GB6/B7B1=;;7BB32=@B6@3/B3<32=@/BB3;>B32B=

            1=;;7B/<GE@=<54C:/1B=@D7=:/B7=<=4:/E=@2CBG/::35327<B631B7=<$=<3B63:3AAB/97<5

            7<B=/11=C<BB63C<13@B/7<BG/<2@7A9A7<63@3<B7</<G:7B75/B7=<343<2/<B6/A1=<1:C2327B7A

            23A7@/0:3/<203<34717/:B6/BB631B7=<034C::G/<247</::GA3BB:32/<2B3@;7</B327<B63;/<<3@

            /<2C>=<B63B3@;A/<21=<27B7=<AA3B4=@B67<B67A5@33;3<B)67A5@33;3<B7A/1=;>@=;7A3

            /<2B635@33;3<B/<G@3:/B322=1C;3<BA/<2/<G<35=B7/B7=<A@3AC:B7<57<7BA6/::<=B03

            1=<AB@C32/A=@233;32B=033D723<13=4=@/</2;7AA7=<=@1=<13AA7=<=4:7/07:7BG=@

            E@=<52=7<5=<B63>/@B=4343<2/<B=@/<G=4B63'3:3/A32&/@B73A2347<3203:=EE7B6

            @3A>31BB=/<G1:/7;=4/<G4/C:B=@:7/07:7BG=@E@=<52=7<5=@2/;/53E6/BA=3D3@

                          &:/7<B744AAB@=<5:G03:73D3B6/BB631:/7;A/AA3@B327<B631B7=</5/7<AB343<2/<B

            6/D3;3@7B/<2B6/BB63GE=C:26/D3>@3D/7:32/BAC;;/@G8C25;3<B/<2 =@B@7/:$=<3B63:3AA

            &:/7<B744A/<2:/AA=C<A3:@31=5<7H3B6/B343<2/<B6/A@/7A324/1BC/:/<2:35/:2343<A3AB6/B

            >@3A3<B/@7A9B6/B&:/7<B744A;/G<=B>@3D/7:&:/7<B744A/<2:/AA=C<A3:/:A=@31=5<7H3B63

            3F>3<A3/<223:/G/AA=17/B32E7B61=<B7<C32>@=A31CB7=<=4B631B7=</5/7<AB343<2/<B




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            B6@=C56>:3/27<5A;=B7=<A1:/AA13@B7471/B7=<AC;;/@G8C25;3<BB@7/:/<2/<GAC0A3?C3<B

            />>3/:A&:/7<B744A/<2:/AA=C<A3:6/D3/:A=B/93<7<B=/11=C<BB63C<13@B/7<=CB1=;3/<2

            @7A9A=4:7B75/B7=<3A>317/::G7<1=;>:3F1:/AA/1B7=<A/AE3::/AB63274471C:B73A7<63@3<B7<AC16

            :7B75/B7=<)63@34=@3&:/7<B744A03:73D3A7B7A23A7@/0:3B6/BB63'3:3/A32:/7;A034C::G/<2

            47</::G1=;>@=;7A32A3BB:32/<2@3A=:D32E7B6>@38C2713/A32=<B637@3D/:C/B7=<:/AA

            =C<A3:6/D31=<1:C232B6/BB63B3@;A/<21=<27B7=<A=4B67A5@33;3<B/@34/7@@3/A=</0:3/<2

            /23?C/B3B=B63(3BB:3;3<B:/AA/<2B6/B7B7A7<B6303AB7<B3@3ABA=4B63(3BB:3;3<B:/AAB=

            A3BB:3B631:/7;A@/7A327<B631B7=<>C@AC/<BB=B63B3@;A/<2>@=D7A7=<A=4B67A5@33;3<B

                         !"*'%"%'&%,&'#('!%0G/<2

            /;=<5&:/7<B744AB63(3BB:3;3<B:/AA/<23/16=4B63;/<2343<2/<B0G/<2B6@=C567BA

            C<23@A75<321=C<A3:B6/BAC0831BB=47</:/>>@=D/:=4B63=C@B/4B3@/63/@7<5=@63/@7<5A/A

            >@=D72324=@7<B67A(3BB:3;3<B5@33;3<B7<1=<A723@/B7=<=4B6303<347BA4:=E7<5B=B63&/@B73A

            4@=;B635@33;3<BA3B4=@B663@37<B6/BB631B7=</<2B63'3:3/A32:/7;AA6/::0347</::G/<2

            4C::G1=;>@=;7A32A3BB:32/<2@3:3/A32/<2B631B7=<A6/::0327A;7AA32E7B6>@38C2713C>=<

            /<2AC0831BB=B63B3@;A/<21=<27B7=<A=4B67A5@33;3<B

                                                           % !'

                       !'"!&

                         ACA327<B67A(3BB:3;3<B5@33;3<BB634=::=E7<5B3@;A6/D3B63;3/<7<5AA>3174732

            03:=E

                              E/?5;:F;3/<A#!#%& #$!"#!## /A3$=

                     1D >3<27<57<B63*<7B32(B/B3A7AB@71B=C@B4=@B63$=@B63@<7AB@71B=4::7<=7A

                              E<<=;A108-59F;3/<A/:/7;=@;AC0;7BB320G/(3BB:3;3<B:/AA

            #3;03@B6/B/7AAC0;7BB32B7;3:G/<27</11=@2/<13E7B6B6327@31B7=<A=<B63:/7;=@;

            /<2B63>@=D7A7=<A=4B63(3BB:3;3<B5@33;3<B07A4C::G/<2B@CB64C::G1=;>:3B320G/


                                                                  
         
                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 5 of 46 PageID #:248

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            (3BB:3;3<B:/AA#3;03@E7B6/::=4B637<4=@;/B7=<@3?C3AB327<B63:/7;=@;17AA75<32

            0GB63(3BB:3;3<B:/AA#3;03@>6GA71/::G=@3:31B@=<71/::G/<227A/>>@=D320GB63

            (3BB:3;3<B2;7<7AB@/B=@>C@AC/<BB=B63>@=D7A7=<A=4B67A5@33;3<B)=@3137D3/!!#

            1/A6>/G;3<B3/161:/7;/<B;CAB47::=CB/</BB3AB/B7=<B6/BB63GE3@3/@357AB3@32CA3@=4

            @C<16G@=::/<2D73E32/D723==<B63@C<16G@=::1=;A7B3;=07:3/>>:71/B7=<A=@D723==<

            23;/<2A3@D713A=@/>>:71/B7=<A2C@7<5B63:/AA&3@7=2/16(3BB:3;3<B:/AA#3;03@

            AC0;7BB7<5/:/7;=@;;CAB/:A=>@=D723B633;/7:/22@3AA/AA=17/B32E7B6B637@@C<16G@=::

            /11=C<B=@=B63@7<4=@;/B7=<AC447173<BB=723<B74GB63(3BB:3;3<B:/AA#3;03@/A6/D7<5/

            @C<16G@=::/11=C<B

                           E8-59;=9F;3/<AB632=1C;3<BAC0AB/<B7/::G7<B634=@;/BB/163263@3B=/A

            F6707B/A/>>@=D320GB63=C@B)63:/7;=@;B=031=;>:3B320G(3BB:3;3<B:/AA

            #3;03@AE6=E7A6B=47:3/:/7;4=@/>/G;3<BA6/::03/D/7:/0:37<3:31B@=<71/<2>/>3@

            4=@;/B7<B63;/<<3@23A1@703203:=E

                           E8-59>1-085:1F;3/<AB632/B30GE6716/:::/7;=@;A;CAB03

            >=AB;/@932=@@3137D32B=031=<A723@32B7;3:G/<2A6/::03A3B/A/2/B3<=:/B3@B6/<4=@BG47D3

            2/GA/4B3@3<B@G=4B637</:>>@=D/:3/@7<5)63:/7;A3/2:7<3A6/::031:3/@:GA3B

            4=@B67<B63&@3:7;7</@G>>@=D/:%@23@/AE3::/A7<B63$=B713/<2B63:/7;=@;

                           E8->>;@:>18F;3/<A@/<2=<,7A3/<22/;:=@39=4&37443@,=:4/@@

            !/<3=<E/G,7A3""&/<2#716/3:"#C@>6G=4/7:3G:/AA3@""&

                          E8->>#1=5;0F;3/<A(3>B3;03@         B6@=C56>@3:7;7</@G/>>@=D/:

                          E8->>%1<=1>1:?-?5A1>F;3/<AB63</;32&:/7<B744A7<B67A1B7=<(/:D/2=@

            3:B@/< @/<2:7@=AA

                          E;@=?F;3/<AB63*<7B32(B/B3A7AB@71B=C@B4=@B63$=@B63@<7AB@71B=4::7<=7A




                                                              
         
                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 6 of 46 PageID #:249

            


            B63 =<=@/0:3 (/@/ " ::7A >@3A727<5 =@ /<G 8C253 E6= A6/:: AC11332 63@ /A B63 C253 7< B67A

            1B7=<

                             E121:0-:?F;3/<A@C<16G@=::""

                         E121:0-:?>G;@:>18F;3/<A#/@9#3:=27//<2,7::7/;/@:3G=4=::/<2

            !<756B""&

                             E221/?5A1-?1F;3/<AB632/B3B3<      2/GA/4B3@E6716/::=4B633D3<BA/<2

            1=<27B7=<AA>31747327<&/@/5@/>6 6/D3033<;3B/<26/D3=11C@@32

                             E>/=;B//;@:?F;3/<AB63A3>/@/B37<B3@3AB03/@7<53A1@=E/11=C<BB=03

            3AB/0:7A6320GB63(3BB:3;3<B2;7<7AB@/B=@C<23@B3@;A/113>B/0:3B=/::&/@B73A/BC<B7<5B=<

            /<1A6/@3A<1=@>=@/B32/23>=A7B=@G7<AB7BCB7=<7<AC@320GB63323@/:3>=A7B<AC@/<13

            =@>=@/B7=<)63(3BB:3;3<BC<2A6/::0323>=A7B320G343<2/<B7<B=B63A1@=E11=C<B7<

            /11=@2/<13E7B6B63B3@;A=4B67A5@33;3<B/<2B63;=<3G7<B63A1@=E11=C<BA6/::03

            7<D3AB327<B634=::=E7<5BG>3A=4/11=C<BA/<2 =@7<AB@C;3<BA/<2<==B63@723;/<223>=A7B

            /11=C<BA/<2 =@77B7;323>=A7B/11=C<BA/<213@B7471/B3A=423>=A7B7<37B63@1/A3E7B6

            ;/BC@7B73A=44=@BG47D32/GA=@:3AA)631=ABA=43AB/0:7A67<5/<2;/7<B/7<7<5B63A1@=E

            11=C<BA6/::03>/724@=;B63(3BB:3;3<BC<2)63A1@=E11=C<BA6/::03;/7<B/7<320GB63

            (3BB:3;3<B2;7<7AB@/B=@

                             J11B-=0;3/<AB63/;=C<B=4/BB=@<3GAL433A/<2@37;0C@A3;3<B=4

            3F>3<A3A/E/@2320GB63=C@BB=:/AA=C<A3:E6716E7::03>/72=CB=4B63(3BB:3;3<BC<2

                             E5:-8F;3/<A74B63@3/@3<=B7;3:G=0831B7=<AB632/B3C>=<E6716B637</:

            >>@=D/:%@23@7A3<B3@32=@74B63@37A=<3=@;=@3B7;3:G=0831B7=<A=<30CA7<3AA2/G

            4=::=E7<5B63:/B3AB=4B634=::=E7<53D3<BA7B632/B3C>=<E6716B63B7;33F>7@3A4=@47:7<5=@

            <=B717<5/<G/>>3/:=4B63=C@BLA7</: C25;3<B/>>@=D7<5B63(3BB:3;3<B5@33;3<B7774




                                                                 
         
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            


            B63@37A/</>>3/:=@/>>3/:A=B63@B6/</</>>3/:=@/>>3/:AA=:3:GE7B6@3A>31BB=B6333

            E/@2B632/B3=41=;>:3B7=<7</;/<<3@B6/B47</::G/447@;A/<2:3/D3A7<>:/13B637</:

                C25;3<BE7B6=CB/<G;/B3@7/:;=27471/B7=<=4/::>@=13327<5A/@7A7<5=CB=4B63/>>3/:=@

            />>3/:A7<1:C27<50CB<=B:7;7B32B=B633F>7@/B7=<=4/::23/2:7<3A4=@;=B7=<A4=@

            @31=<A723@/B7=<=@>3B7B7=<A4=@@3D73E/<2 =@!#!!/::>@=13327<5A=@23@32=<@3;/<2/<2

            /::>@=13327<5A/@7A7<5=CB=4/<GAC0A3?C3<B/>>3/:=@/>>3/:A4=::=E7<52317A7=<A=<@3;/<2

            =@777B632/B3=447</:27A;7AA/:=4/<G/>>3/:=@B6347</:27A;7AA/:=4/<G>@=13327<5=<

            !#!!

                           E5:-8<<=;A-81-=5:3F;3/<AB6363/@7<5034=@3B63=C@BE63@3B63&/@B73A

            E7::@3?C3ABB637</: C25;3<BB=033<B3@320GB63=C@B/>>@=D7<5B63(3BB:3;3<B5@33;3<B

            B6333E/@2/<2B637<13<B7D3/E/@2B=B63:/AA'3>@3A3<B/B7D3A

                         E5:-8@0391:?F;3/<AB637</: C25;3<B/<2%@23@B=033<B3@320GB63

            =C@B/>>@=D7<5B635@33;3<B/4B3@B637</:>>@=D/:3/@7<5

                         E!;?5/1F;3/<AB63<=B713=4B67A>@=>=A32:/AA1B7=<(3BB:3;3<B5@33;3<B

            /<27</:>>@=D/:3/@7<5E67167AB=03A3<BB=B63(3BB:3;3<B:/AAAC0AB/<B7/::G7<B63

            ;/<<3@A3B4=@B67<B67A5@33;3<B7A1=<A7AB3<BE7B6B63@3?C7@3;3<BA=4C3&@=13AA'C:3       

            /<27AAC0AB/<B7/::G7<B634=@;=4F6707BA/<263@3B=

                         E!;?5/1-?1F;3/<AB632/B30GE6716B63$=B713A3B4=@B67<&/@/5@/>6 

            1=;;3<13AE6716A6/::03<=:/B3@B6/<A3D3<2/GA/4B3@&@3:7;7</@G>>@=D/:/<2;/G

            0357<7;;327/B3:GC>=<&@3:7;7</@G>>@=D/:

                         E".61/?5;:C/8@>5;:1-085:1F;3/<AB632/B30GE6716/E@7BB3<=0831B7=<B=

            B67A(3BB:3;3<B5@33;3<B=@/@3?C3AB4=@3F1:CA7=<AC0;7BB320G/&3@A=<E7B67<B63(3BB:3;3<B

            :/AA;CAB03;/23E6716A6/::0323A75</B32/A/2/B3<=:/B3@B6/<4=@BG47D32/GA/4B3@




                                                               
         
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            


            B63$=B713/B3/<2<=A==<3@B6/<4=C@B33< 2/GA/4B3@>/>3@AAC>>=@B7<5B6333E/@2/@3

            47:32E7B6B63=C@B/<2>=AB32B=B63A3BB:3;3<BE30A7B3:7AB327<&/@/5@/>6 2=@AC16=B63@

            2/B3/A=@23@320GB63=C@B

                        E#1=>;:FA6/::;3/<E7B6=CB:7;7B/B7=</<G7<27D72C/:1=@>=@/B7=<>/@B<3@A67>

            :7;7B32>/@B<3@A67>:7;7B32:7/07:7BG1=;>/<G/AA=17/B7=<8=7<BAB=191=;>/<G3AB/B3:35/:

            @3>@3A3<B/B7D3B@CABC<7<1=@>=@/B32/AA=17/B7=<5=D3@<;3<B=@/<G>=:7B71/:AC027D7A7=<=@

            /53<1GB63@3=4/<2/<G0CA7<3AA=@:35/:3<B7BG/<2B637@A>=CA3A637@A>@32313AA=@A

            AC113AA=@A@3>@3A3<B/B7D3A=@/AA75<AJ&3@A=<K7A<=B7<B3<232B=7<1:C23/<G5=D3@<;3<B/:

            /53<173A=@5=D3@<;3<B/:/1B=@A7<1:C27<5E7B6=CB:7;7B/B7=</<GAB/B3BB=@<3G3<3@/:=44713

                          E#8-5:?522>F;3/<A(/:D/2=@3:B@/< @:7@=AA/<2E63@3/>>@=>@7/B3B63

            (3BB:3;3<B:/AA#3;03@A

                          E#=18595:-=D<<=;A-8F;3/<AB63=C@BLA13@B7471/B7=<=4B63(3BB:3;3<B:/AA

            4=@A3BB:3;3<B>C@>=A3A>@3:7;7</@G/>>@=D/:=4B67A(3BB:3;3<B5@33;3<B/<2/>>@=D/:=4B63

            4=@;/<2;/<<3@=4B63$=B713

                          E#=18595:-=D<<=;A-8"=01=F;3/<AB63=@23@>@3:7;7</@7:G/>>@=D7<5B63

            (3BB:3;3<B5@33;3<B13@B74G7<5B63(3BB:3;3<B:/AA4=@A3BB:3;3<B>C@>=A3A/<227@31B7<5

            <=B713B63@3=4B=B63(3BB:3;3<B:/AAE6716E7::03/5@332C>=<0GB63&/@B73A/<2AC0;7BB32B=

            B63=C@B7<1=<8C<1B7=<E7B6&:/7<B744AL;=B7=<4=@>@3:7;7</@G/>>@=D/:=4B635@33;3<B

                          E%181->108-59>F;3/<A/<G/<2/::/1BC/:>=B3<B7/:47:329<=E<=@C<9<=E<

            47F32=@1=<B7<53<B1:/7;32=@C<1:/7;32ACA>31B32=@C<ACA>31B321:/7;A23;/<2A

            :7/07:7B73A@756BA1/CA3A=4/1B7=<27A>CB3A1=<B@/1BA=@/5@33;3<BA3FB@/1=<B@/1BC/:1:/7;A

            2/;/53A>C<7B7D33F3;>:/@G=@;C:B7>:7322/;/53A3F>3<A3A1=ABA/BB=@<3GAL433A/<2=@

            =0:75/B7=<A7<1:C27<5J*<9<=E<:/7;AK/A2347<3203:=EE63B63@7<:/E=@7<3?C7BG




                                                               
         
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            


            /11@C32=@C</11@C3227@31B7<27D72C/:=@@3>@3A3<B/B7D3=43D3@G</BC@3/<223A1@7>B7=<

            E6/BA=3D3@E63B63@0/A32=<B63+&&=@=B63@AB/B34323@/::=1/:AB/BCB=@G=@1=;;=<:/E

            =@/<G=B63@:/E@C:3=@@35C:/B7=</5/7<ABB63'3:3/A32&/@B73A=@/<G=4B63;/@7A7<5=CB=4

            /<G4/1BAB@/<A/1B7=<A3D3<BA;/BB3@A=11C@@3<13A/1BA27A1:=AC@3AAB/B3;3<BA

            @3>@3A3<B/B7=<A=;7AA7=<A=@4/7:C@3AB=/1B@35/@27<5B63/::353227A1:=AC@3=4B63(3BB:3;3<B

            :/AA#3;03@AL>3@A=</::G723<B747/0:37<4=@;/B7=</<2D723=D73E7<5036/D7=@B=/<GB67@2

            >/@BG7<1:C27<5/::1:/7;AB6/BE3@30@=C56B=@1=C:26/D3033<0@=C56B7<B631B7=<@3:/B7<5B=

            B6327A1:=AC@3=4AC167<4=@;/B7=<03:=<57<5B=/<G/<2/::'3:3/A7<5&/@B73A$=B67<563@37<7A

            7<B3<232B=@3:3/A3/<G1:/7;A/<G5=D3@<;3<B/:/53<1G=@5=D3@<;3<B/:/1B=@6/A/5/7<AB

            343<2/<BA

                          E%181->10#-=?51>F;3/<A343<2/<B@C<16G@=::""/<2/<G/<2/::=4B637@

            @3A>31B7D3>@3A3<B=@>/AB637@A3F31CB=@A3AB/B3A/2;7<7AB@/B=@A>@32313AA=@AAC113AA=@A

            /AA75<A>/@3<B1=;>/<73AAC0A727/@73A:713<A=@A:713<A33A/AA=17/B3A/447:7/B3A3;>:=G3@A

            3;>:=G33A/53<BA1=<AC:B/<BA7<AC@3@A27@31B=@A;/</57<527@31B=@A=44713@A>@7<17>/:A

            ;3;03@A/BB=@<3GA/11=C<B/<BA47</<17/:/<2=B63@/2D7A=@AC<23@E@7B3@AA6/@36=:23@A

            :3<23@A/C27B=@A7<D3AB;3<B/2D7A=@A:35/:@3>@3A3<B/B7D3AAC113AA=@A7<7<B3@3AB/AA75<A/<2

            1=;>/<73A47@;AB@CABA/<21=@>=@/B7=<A

                        E%181->5:3#-=?51>F;3/<A&:/7<B744AB6=A3(3BB:3;3<B:/AA#3;03@AE6=2=

            <=BB7;3:G=>B=CB=4B63(3BB:3;3<B:/AA/<2/::=4B637@@3A>31B7D3>@3A3<B=@>/AB637@A

            3F31CB=@A3AB/B3A/2;7<7AB@/B=@A>@32313AA=@AAC113AA=@A/AA75<A>/@3<B1=;>/<73A

            AC0A727/@73A/AA=17/B3A/447:7/B3A3;>:=G3@A3;>:=G33A/53<BA1=<AC:B/<BA7<23>3<23<B

            1=<B@/1B=@A7<AC@3@A27@31B=@A;/</57<527@31B=@A=44713@A>/@B<3@A>@7<17>/:A;3;03@A

            /BB=@<3GA/11=C<B/<BA47</<17/:/<2=B63@/2D7A=@AC<23@E@7B3@AA6/@36=:23@A:3<23@A/C27B=@A




                                                              
         
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            


            7<D3AB;3<B/2D7A=@A:35/:@3>@3A3<B/B7D3AAC113AA=@A7<7<B3@3AB/AA75<A/<21=;>/<73A47@;A

            B@CABA/<21=@>=@/B7=<A

                        E&1??8191:?095:5>?=-?5;:C<1:>1>F;3/<AB633F>3<A3A7<1C@@320GB63

            (3BB:3;3<B2;7<7AB@/B=@7<>@=D727<5$=B7137<1:C27<5<=B713>@=13AA7<51:/7;A

            @3A>=<27<5B=7<?C7@73A4@=;;3;03@A=4B63(3BB:3;3<B:/AA1==@27</B7<5>/G;3<B4=@

            >>@=D32:/7;A/<2@3:/B32/2;7<7AB@/B7D3A3@D713A

                        E&1??8191:?095:5>?=-?;=F;3/<A!@=::(3BB:3;3<B2;7<7AB@/B7=<""=@

            AC16=B63@@3>CB/0:3/2;7<7AB@/B7=<1=;>/<GB6/B6/A033<A3:31B320GB63&/@B73A/<2/>>@=D32

            0GB63=C@BB==D3@A33B6327AB@70CB7=<=4$=B713/AE3::/AB63>@=13AA7<5/<2>/G;3<B=4

            >>@=D32:/7;AB=B63(3BB:3;3<B:/AA/AA3B4=@B67<B67A5@33;3<B

                        E&1??8191:?1:125?F;3/<AB63(3BB:3;3<BC<2                   *(

                        E&1??8191:?8->>F;3/<A/::>3@A=<A7<B63*<7B32(B/B3AE6= E3@3

            @357AB3@32CA3@A=4/<=<:7<3E30A7B3;=07:3/>>=@/<GD723==<23;/<2A3@D713=@/>>=E<32

            1=<B@=::32/<2 =@=>3@/B320G@C<16G@=::/<2 E6=D73E32D723=A=</<=<:7<3E30A7B3

            ;=07:3/>>=@/<GD723==<23;/<2A3@D713=@/>>=E<321=<B@=::32/<2 =@=>3@/B320G

            @C<16G@=::2C@7<5B63:/AA&3@7=2F1:C2324@=;B63(3BB:3;3<B:/AA/@3 /<G C253=@

            #/57AB@/B3>@3A727<5=D3@B67A1B7=</<2;3;03@A=4B637@4/;7:73A B63343<2/<B7BA

            AC0A727/@73A>/@3<B1=;>/<73AAC113AA=@A>@32313AA=@A/<2/<G3<B7BG7<E6716B63343<2/<B

            =@7BA>/@3<BA6/D3/1=<B@=::7<57<B3@3AB/<2B637@1C@@3<B=@4=@;3@=44713@A27@31B=@A/53<BA

            /BB=@<3GA/<23;>:=G33A >3@A=<AE6=>@=>3@:G3F31CB3/<247:3/B7;3:G@3?C3AB4=@

            3F1:CA7=<4@=;B631:/AA/<2B63:35/:@3>@3A3<B/B7D3AAC113AA=@A=@/AA75<A=4/<GAC16

            3F1:C232>3@A=<A

                          E&1??8191:?8->> 19.1=F;3/<A/&3@A=<E6=4/::AE7B67<B632347<7B7=<=4




                                                             
         
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            


            B63(3BB:3;3<B:/AA/AA3B4=@B6/0=D3/<2E6=6/A<=BAC0;7BB32/D/:72@3?C3AB4=@3F1:CA7=<

                          E&1??8191:?@:0F;3/<AB63<=<@3D3@A7=</@G1/A64C<2B6/BA6/::03

            3AB/0:7A6320G=@=<036/:4=4343<2/<B7<B63B=B/:/;=C<B=4A7FB33<;7::7=<2=::/@A

                         *(B=0323>=A7B327<B=B63A1@=E11=C<B/11=@27<5B=B63A1632C:3A3B

            4=@B663@37<>:CA/::7<B3@3AB3/@<32B63@3=<@=;B63(3BB:3;3<BC<2B63(3BB:3;3<B

            2;7<7AB@/B=@A6/::>/G/::>>@=D32:/7;A;/230G(3BB:3;3<B:/AA#3;03@A(3BB:3;3<B

            2;7<7AB@/B7=<F>3<A3A/<G7<13<B7D3/E/@2B=B63:/AA'3>@3A3<B/B7D3A/<2/<G33E/@2

            B=:/AA=C<A3:)63(3BB:3;3<BC<2A6/::0393>B7<B63A1@=E11=C<BE7B6>3@;7AA7=<A

            5@/<B32B=B63(3BB:3;3<B2;7<7AB@/B=@B=/113AAA/724C<2AC<B7:AC16B7;3/AB63/0=D3:7AB32

            >/G;3<BA/@3;/23)63(3BB:3;3<BC<27<1:C23A/::7<B3@3ABB6/BA6/::/11@C3=<B63AC;A

            23>=A7B327<B63A1@=E11=C<B)63(3BB:3;3<B2;7<7AB@/B=@A6/::03@3A>=<A70:34=@/::B/F

            47:7<5AE7B6@3A>31BB=/<G3/@<7<5A=<B63(3BB:3;3<BC<2/<2B63>/G;3<B=4/::B/F3AB6/B;/G

            032C3=<AC163/@<7<5A)63(3BB:3;3<BC<2@3>@3A3<BAB63B=B/:3FB3<B=4343<2/<BLA

            ;=<3B/@G=0:75/B7=<AC<23@B67A5@33;3<B<<=3D3<BA6/::343<2/<BLAB=B/:;=<3B/@G

            =0:75/B7=<E7B6@3A>31BB=B67A5@33;3<B3F1332=@03:3AAB6/<A7FB33<;7::7=<2=::/@A

                         *(>:CAB637<B3@3AB3/@<32=<AC16AC;

                          E(:7:;B:8-59>F;3/<A1:/7;AB6/B1=C:26/D3033<@/7A327<B631B7=</<2

            B6/B/<G=@/::=4B63'3:3/A7<5&/@B73A2=<=B9<=E=@ACA>31BB=3F7ABE6716749<=E<0G67;

            =@63@;756B/4431B67A=@63@/5@33;3<BB=@3:3/A3B63'3:3/A32&/@B73A=@B63'3:3/A32:/7;A

            =@;756B/4431B67A=@63@2317A7=<B=/5@33=0831B=@<=BB==0831BB=B63(3BB:3;3<B*>=<B63

            4431B7D3/B3B63'3:3/A7<5&/@B73AA6/::03233;32B=6/D3/<2A6/::6/D33F>@3AA:GE/7D32

            /<2@3:7<?C7A632B=B634C::3AB3FB3<B>3@;7BB320G:/EB63>@=D7A7=<A@756BA/<203<347BA=4

            I  =4B63/:74=@<7/7D7:=23E6716>@=D723A/A4=::=EA




                                                             
         
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            


                     $'" '"( %( $%) -)$ )% "#( , )
                    ')%' %( $%) !$%, %' (*(&) )% -() $ ( %' '
                    +%')))#%-*)$)'"(,!$%,$
                    . # %' ' #*() + #)'"". ) ( %' '
                    ())"#$),)))%'

            *>=<B634431B7D3/B3B63'3:3/A7<5&/@B73A/:A=A6/::03233;32B=6/D3/<2A6/::6/D3

            E/7D32/<G/<2/::>@=D7A7=<A@756BA/<203<347BA1=<43@@320G/<G:/E=4/<GAB/B3=@B3@@7B=@G

            =4B63*<7B32(B/B3A=@>@7<17>:3=41=;;=<:/E=@B63:/E=4/<G8C@7A271B7=<=CBA723=4B63

            *<7B32(B/B3AE67167AA7;7:/@1=;>/@/0:3=@3?C7D/:3<BB=I  =4B63/:74=@<7/7D7:=23

            )63'3:3/A7<5&/@B73A/19<=E:3253B6/BB63G;/G27A1=D3@4/1BA7</227B7=<B==@27443@3<B4@=;

            B6=A3B6/BB63G<=E9<=E=@03:73D3B=03B@C3E7B6@3A>31BB=B63AC0831B;/BB3@=4B67A@3:3/A3

            0CBB6/B7B7AB637@7<B3<B7=<B=47</::G/<24=@3D3@A3BB:3/<2@3:3/A3B63'3:3/A32:/7;A

            <=BE7B6AB/<27<5/<G*<9<=E<:/7;AB63G;/G6/D3/AB6/BB3@;7A2347<327<B67A&/@/5@/>6

                 &'' !'%

                           #-D91:?>?;&1??8191:?8->> 19.1=>

                             -    343<2/<BA A6/:: >/G =@ 1/CA3 B= 03 >/72 7<B= B63 A1@=E 11=C<B B63

            /;=C<B =4 B63 (3BB:3;3<B C<2                    *( /A A>3174732 7< &/@/5@/>6     =4 B67A

            5@33;3<BE7B67<BE3<BG3756B 2/GA/4B3@&@3:7;7</@G>>@=D/:

                             .    (3BB:3;3<B:/AA#3;03@AA6/::6/D3C<B7:B63:/7;A3/2:7<3B=AC0;7B

            /<>>@=D32:/7;/16(3BB:3;3<B:/AA#3;03@E7B6/<>>@=D32:/7;A6/::033<B7B:32B=

            /1/A6>/G;3<B7</</;=C<B@34:31B7<5B63!!#>=@B7=<=4B63(3BB:3;3<BC<2/4B3@

            232C1B7<5B63(3BB:3;3<B2;7<7AB@/B7=<F>3<A3A/<G33E/@2/<2/<G7<13<B7D3/E/@2

                             /    )63(3BB:3;3<B2;7<7AB@/B=@A6/::>/G4@=;B63(3BB:3;3<BC<2/::

            >>@=D32:/7;A0G3:31B@=<71>/G;3<B=@16319E7B6A/7216319A037<5A3<BD7/47@AB1:/AA*(

            ;/7:B=B63(3BB:3;3<B:/AA#3;03@AE6=AC0;7BB32AC16>>@=D32:/7;A&/G;3<BAB=/::




                                                                    
         
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            


            (3BB:3;3<B:/AA#3;03@AE7B6>>@=D32:/7;AA6/::03;/23E7B67<<7<3BG 2/GA/4B3@B63

            4431B7D3/B3

                             0    ::1/A6>/G;3<BA7AAC32B=(3BB:3;3<B:/AA#3;03@AD7/16319E7::

            AB/B3=<B634/13=4B6316319B6/B7BE7::3F>7@3/<2031=;3<C::/<2D=72C<:3AA1/A632E7B67<

            =<36C<2@32/<23756BG  2/GA/4B3@B632/B3=47AAC/<13)=B633FB3<BB6/B/<G16319A

            7AAC32B=/(3BB:3;3<B:/AA#3;03@/@3<=B1/A632E7B67<=<36C<2@323756BG  2/GA/4B3@

            B632/B3=47AAC/<13AC16C<1/A632163194C<2AA6/::03@327AB@70CB32=</!!#0/A7A/4B3@

            47@AB232C1B7<5/<G<313AA/@GA3BB:3;3<B/2;7<7AB@/B7=<3F>3<A3A4@=;AC16C<1/A63216319

            4C<2AB=/::(3BB:3;3<B:/AA#3;03@AE6=1/A63216319A2C@7<5B637<7B7/:27AB@70CB7=<0CB

            =<:GB=B633FB3<B3/16(3BB:3;3<B:/AA#3;03@E=C:2@3137D3/B:3/AB        7</<GAC16

            A31=<2/@G27AB@70CB7=</<274=B63@E7A343/A70:3)=B633FB3<B3/16(3BB:3;3<B:/AA#3;03@

            E=C:2@3137D3:3AAB6/<      7</<GAC16A31=<2/@G27AB@70CB7=<=@74/A31=<2/@G27AB@70CB7=<

            E=C:203=B63@E7A37<43/A70:3/<GC<1/A632163194C<2AA6/::AC0831BB==C@B/>>@=D/:@3D3@B

            B=B63CBC@3=4&@7D/1G=@C;/<=<A31B/@7/<<=<>@=47B=@5/<7H/B7=<@31=;;3<2320G:/AA

            =C<A3:/<2/>>@=D320GB63=C@B

                             1    *>=<>/G;3<B=4B63(3BB:3;3<BC<27<B=B63A1@=E11=C<B/::@7A9=4

            :=AAE7B6@3A>31BB=B631/A6>=@B7=<=4B63(3BB:3;3<BA6/::>/AAB=B63A1@=E11=C<B/<2/<G

            /<2/::@3;/7<7<57<B3@3AB=@@756B=4343<2/<B7<=@B=B63A1@=E11=C<B74/<GA6/::03

            3FB7<5C7A632

                           #=;><1/?5A1%18512343<2/<BE7::CA35==24/7B6344=@BAE7B67<2/GA=4B63

            &@3:7;7</@G>>@=D/:%@23@0CB7<<=3D3<B:/B3@B6/<B632/B3=4B637</: C253;3<BB=;=274G

            7BACA3=4B63/130==9&7F3:/<2=B63@B@/197<5>7F3:A=@B@/197<5B316<=:=573AA=B6/BCA3=4

            AC16B316<=:=573AE7::<=B@3AC:B7<@C<16G@=::LA27A1:=AC@3B=B63B316<=:=5G23D3:=>3@A=4B63




                                                              
         
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            A>317471D723=1=<B3<BD73E320G/A>3174717<27D72C/:C<:3AA/<2C<B7:B63+&&7A/;3<232

            @3>3/:32=@=B63@E7A37<D/:72/B327<1:C27<50G8C2717/:2317A7=<=<B63CA3=4E30A7B3>7F3:

            B316<=:=5G0GB63*<7B32(B/B3A(C>@3;3=C@B/<G4323@/:1=C@B=4/>>3/:A/*(4323@/:

            27AB@71B1=C@B7<::7<=7A=@/<::7<=7AAB/B31=C@B=453<3@/:8C@7A271B7=<=@C<B7:343<2/<B

            =0B/7<A+&&1=;>:7/<B1=<A3<B4=@B6327A1:=AC@3=4B63D723=1=<B3<BD73E32$=B67<563@37<

            A6/::>@=6707BB63CA3=4B63B@/197<5>7F3:A=@=B63@B316<=:=573AE63@3/<G27A1:=AC@3=4

            7<4=@;/B7=<2=3A<=B723<B74GA>317471D723=;/B3@7/:AB6/B/A>317471CA3@6/A@3?C3AB32=@

            =0B/7<32

                 %&

                            )63=0:75/B7=<A7<1C@@32>C@AC/<BB=B67A(3BB:3;3<B5@33;3<BA6/::03/4C::/<2

            47</:27A>=A7B7=<=4B631B7=</<2/<G/<2/::'3:3/A32:/7;A/A/5/7<AB/::'3:3/A32&/@B73A

                            *>=<B634431B7D3/B3B63'3:3/A7<5&/@B73A/<23/16=4B63;A6/::03233;32

            B=6/D3/<20G=>3@/B7=<=4B637</: C25;3<BA6/::6/D34C::G47</::G/<24=@3D3@@3:3/A32

            @3:7<?C7A632/<227A16/@532/::'3:3/A32:/7;A/5/7<ABB63'3:3/A32&/@B73A/<23/16=4B63;

            C@B63@C>=<B634431B7D3/B3/<2B=B634C::3AB3FB3<B>3@;7BB320G:/E3/16(3BB:3;3<B

            :/AA#3;03@A6/::37B63@27@31B:G7<27@31B:G@3>@3A3<B/B7D3:G=@7</<G1/>/17BG03

            >3@;/<3<B:G0/@@32/<23<8=7<324@=;47:7<51=;;3<17<5>@=A31CB7<57<B3@D3<7<57<=@

            >/@B717>/B7<5/A/1:/AA;3;03@=@=B63@E7A37</<G:/EAC7B/1B7=<=@=B63@>@=13327<57</<G

            8C@7A271B7=<=B63@B6/<>/@B717>/B7=<7<B63(3BB:3;3<B/A>@=D723263@37</5/7<AB/<G'3:3/A32

            &/@BG0/A32=<B63'3:3/A32:/7;A

                 !"''"'&&

                            )63$=B713&:/<A6/::1=<A7AB=4B634=::=E7<5

                             -    ###"" "#343<2/<BA6/::>@=2C13/<3:31B@=<71:7AB4@=;7BA




                                                              
         
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            


            @31=@2AB6/B7<1:C23A/B:3/ABB63</;3A/<23;/7:/22@3AA3A4=@(3BB:3;3<B:/AA#3;03@A>@7=@

            B=&@3:7;7</@G>>@=D/::/AA=C<A3:LA/AA3<BB=B67A5@33;3<BA6/::1=<AB7BCB31=<A3<B=<

            036/:4=4B63(3BB:3;3<B:/AAB=27A1:=A3B67A7<4=@;/B7=<1=<A7AB3<BE7B6B63E@7BB3<1=<A3<B

            >@=D7A7=<A=4B63+&&)67A3:31B@=<712=1C;3<BA6/::031/::32B63J:/AA"7ABK/<2A6/::03

            >@=D7232B=B63(3BB:3;3<B2;7<7AB@/B=@E7B6/1=>GB=:/AA=C<A3::/AA=C<A3:A6/::B/93

            @3/A=</0:3;3/AC@3AB=>@=B31BB637<4=@;/B7=<4@=;/<GB67@2>/@BG27A1:=AC@3

                            .     !# #<B633D3<BB6/BB63=C@B>@3:7;7</@7:G/>>@=D3AB63

            (3BB:3;3<B<=:/B3@B6/<B63$=B713/B3B63(3BB:3;3<B2;7<7AB@/B=@A6/::0357<A3<27<5

            $=B713D7/3;/7:AC0AB/<B7/::G7<B634=@;/BB/1632/AF6707B/:=<5E7B6/<3:31B@=<71:7<9B=

            B63:/7;=@;B=/::(3BB:3;3<B:/AA#3;03@A4=@E6=;/D/:723;/7:/22@3AA7A/D/7:/0:37<

            B63:/AA"7AB<B633D3<BB@/<A;7AA7=<=43;/7:<=B713@3AC:BA7</<GJ0=C<130/19AKB63

            (3BB:3;3<B2;7<7AB@/B=@A6/::E63@3@3/A=</0:371=@@31B/<G7AAC3AB6/B;/G6/D31/CA32B63

            J0=C<130/19KB==11C@/<2;/93/A31=<2/BB3;>BB=@3A3<2B633;/7:<=B713/<277CA3=B63@

            @3/A=</0:3;3/<AB=/BB3;>BB=>@=D723<=B713B=(3BB:3;3<B:/AA#3;03@A

                            /     #!"""&@7=@B=;/7:7<5/<G$=B713B63(3BB:3;3<B

            2;7<7AB@/B=@E7::C>2/B3B63*(;/7:/22@3AA3A=4>3@A=<A=<B63:/AA"7ABCA7<5B63$/B7=</:

            6/<53=422@3AA2/B/0/A3/<2=B63@/D/7:/0:3@3A=C@13A233;32AC7B/0:30GB63(3BB:3;3<B

            2;7<7AB@/B=@)63(3BB:3;3<B2;7<7AB@/B=@A6/::B/93/::@3/A=</0:3AB3>AB==0B/7<B631=@@31B

            /22@3AA=4/<G(3BB:3;3<B:/AA;3;03@A4=@E6=;$=B7137A@3BC@<320GB63*(&=AB/:(3@D713

            /AC<23:7D3@/0:3/<2A6/::/BB3;>B@3;/7:7<5A

                            0     ! #=B64=@BG47D32/GA>@7=@B=B63:/7;A3/2:7<3

            /<24=C@B33< 2/GA>@7=@B=B63:/7;A3/2:7<3B63(3BB:3;3<B2;7<7AB@/B=@A6/::/5/7<

            A3<2$=B713D7/3;/7:AC0AB/<B7/::G7<B634=@;/BB/1632/AF6707BE7B6;7<=@<=<;/B3@7/:




                                                              
         
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            


            ;=27471/B7=<AB=7<271/B3B6/B7B7A/@3;7<23@3;/7:@/B63@B6/</<7<7B7/:<=B713/:=<5E7B6/<

            3:31B@=<71:7<9B=B63:/7;=@;B=/::(3BB:3;3<B:/AA#3;03@A4=@E6=;/D/:723;/7:

            /22@3AA7A/D/7:/0:37<B63:/AA"7AB

                            1     ###"#,7B67<4=C@B33< 2/GA4@=;3<B@G=4B63

            &@3:7;7</@G>>@=D/:%@23@$=B713A6/::03>@=D7232=</E30A7B3/B

            EEE1@C<16G@=::D>>/A3BB:3;3<B1=;=@/A7;7:/@2=;/7<</;3E6716A6/::03/2;7<7AB3@32

            /<2;/7<B/7<320GB63(3BB:3;3<B2;7<7AB@/B=@/<2A6/::7<1:C23B63/07:7BGB=1=;>:3B3=@47:3

            :/7;=@;A=<:7<3)63$=B713>@=D7232=<B63(3BB:3;3<B,30A7B3A6/::03AC0AB/<B7/::G7<

            B634=@;=4F6707B63@3B=

                            2       #&C@AC/<BB= *(I  <=B:/B3@B6/<B3<     2/GA

            /4B3@B635@33;3<B7A47:32E7B6B63=C@BB63(3BB:3;3<B2;7<7AB@/B=@A6/::1/CA3B=03A3@D32

            C>=<B63BB=@<3GA3<3@/:=43/16*((B/B37<E6716(3BB:3;3<B:/AA;3;03@A@3A723B63

            BB=@<3G3<3@/:=4B63*<7B32(B/B3A/<2=B63@@3?C7@325=D3@<;3<B=44717/:A<=B713=4B63

            >@=>=A32A3BB:3;3<B/A@3?C7@320G:/E

                            3     ##!""$":/AA=C<A3:7<B637@1/>/17BG/A1=C<A3:B=

            (3BB:3;3<B:/AA#3;03@A;/G4@=;B7;3B=B7;31=<B/1B(3BB:3;3<B:/AA#3;03@AB=>@=D723

            7<4=@;/B7=</0=CBB63(3BB:3;3<B5@33;3<B/<2B=/<AE3@/<G?C3AB7=<A(3BB:3;3<B:/AA

            #3;03@A;/G6/D3/0=CBB63(3BB:3;3<B5@33;3<B

                           )63$=B713A6/::/2D7A3B63(3BB:3;3<B:/AA=4B637@@756BA7<1:C27<5B63@756BB=

            033F1:C2324@=;1=;;3<BC>=</<2 =@=0831BB=B63(3BB:3;3<B5@33;3<B=@/<G=47BAB3@;A

            )63$=B713A6/::A>3174GB6/B/<G=0831B7=<B=B63(3BB:3;3<B5@33;3<B/<2/<G>/>3@A

            AC0;7BB327<AC>>=@B=4A/72=0831B7=<A6/::031=<A723@320GB63=C@B/BB637</:>>@=D/:

            3/@7<5=<:G74=<=@034=@3B63%0831B7=< F1:CA7=<3/2:7<3/>>@=D320GB63=C@B/<2




                                                             
         
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            A>31747327<B63$=B713B63&3@A=<;/97<5B63=0831B7=<47:3A<=B713=4/<7<B3<B7=<B=2=A=/<2

            /BB63A/;3B7;3/47:3A1=>73A=4AC16>/>3@A63=@A63>@=>=A3AB=03AC0;7BB32/BB637</:

            >>@=D/:3/@7<5E7B6B63:3@9=4B63=C@B=@/:B3@</B7D3:G74B63=0831B7=<7A4@=;/:/AA

            #3;03@@3>@3A3<B320G1=C<A3:47:3A/<G=0831B7=<B6@=C56B63=C@BLA# AGAB3;/<2

            0A3<2A1=>73A=4AC16>/>3@A0G;/7:6/<2=@=D3@<756B23:7D3@GA3@D713B=:/AA=C<A3:/<2

            343<2/<BLA=C<A3:

                           <G(3BB:3;3<B:/AA#3;03@E6=7<B3<2AB==0831BB=B67A5@33;3<B;CAB

            >@3A3<BB63=0831B7=<7<E@7B7<5E6716;CAB03>3@A=</::GA75<320GB63=0831B=@/<2;CAB

            7<1:C23 B63=0831B=@LA</;3/<2/22@3AA /<3F>:/</B7=<=4B630/A7AC>=<E6716B63

            =0831B=@1:/7;AB=03/(3BB:3;3<B:/AA#3;03@ /::5@=C<2A4=@B63=0831B7=<7<1:C27<5/::

            17B/B7=<AB=:35/:/CB6=@7BG/<23D723<13AC>>=@B7<5B63=0831B7=<B63</;3/<21=<B/1B

            7<4=@;/B7=<=4/<G/<2/::/BB=@<3GA@3>@3A3<B7<5/2D7A7<5=@7</<GE/G/AA7AB7<5B63=0831B=@

            7<1=<<31B7=<E7B6B63>@3>/@/B7=<=@AC0;7AA7=<=4B63=0831B7=<=@E6=;/G>@=47B4@=;B63

            >C@AC7B=4B63=0831B7=<B63J%0831B7<5BB=@<3GAK/<2/AB/B3;3<B7<271/B7<5E63B63@B63

            =0831B=@7<B3<2AB=/>>3/@/BB637</:>>@=D/:3/@7<537B63@>3@A=</::G=@B6@=C561=C<A3:

            E6=47:3A/</>>3/@/<13E7B6B63=C@B7</11=@2/<13E7B6B63"=1/:'C:3A

                           4/(3BB:3;3<B:/AA#3;03@=@/<G=4B63%0831B7<5BB=@<3GA6/A=0831B32B=

            /<G1:/AA/1B7=<A3BB:3;3<BE63@3B63=0831B=@=@B63%0831B7<5BB=@<3GA/A9324=@=@@3137D32

            /<G>/G;3<B7<3F16/<534=@27A;7AA/:=4B63=0831B7=<=@/<G@3:/B32/>>3/:E7B6=CB/<G

            ;=27471/B7=<B=B63A3BB:3;3<BB63<B63=0831B7=<;CAB7<1:C23/AB/B3;3<B723<B74G7<53/16AC16

            1/A30G4C::1/A31/>B7=</<2/;=C<B=4>/G;3<B@3137D32<G16/::3<53B=B63(3BB:3;3<B

            5@33;3<BB637</:%@23@=@B637</: C25;3<BA6/::03>C@AC/<BB=/>>3/:C<23@B63323@/:

            'C:3A=4>>3::/B3&@=132C@3/<2<=BB6@=C56/1=::/B3@/:/BB/19




                                                             
         
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                           (3BB:3;3<B:/AA#3;03@;/G@3?C3ABB=033F1:C2324@=;B63(3BB:3;3<B

            :/AA0GA3<27<5/E@7BB3<@3?C3AB>=AB;/@932=<=@034=@3B63%0831B7=< F1:CA7=<3/2:7<3

            />>@=D320GB63=C@B/<2A>31747327<B63$=B713)=3F3@17A3B63@756BB=033F1:C232/&3@A=<

            7<B63(3BB:3;3<B:/AA;CABB7;3:GA3<2/E@7BB3<@3?C3AB4=@3F1:CA7=<B=B63(3BB:3;3<B

            2;7<7AB@/B=@/AA>31747327<B63$=B713>@=D727<567A 63@</;3/<2/22@3AA/A75</BC@3B63

            </;3/<2<C;03@=4B631/A3/<2/AB/B3;3<BB6/B63=@A63E7A63AB=033F1:C2324@=;B63

            (3BB:3;3<B:/AA4=@>C@>=A3A=4B67A(3BB:3;3<B@3?C3ABB=033F1:C232B6/B2=3A<=B7<1:C23

            /::=4B67A7<4=@;/B7=<=@B6/B7AA3<BB=/</22@3AA=B63@B6/<B6/B23A75</B327<B63$=B713=@

            B6/B7A<=B>=AB;/@932E7B67<B63B7;3A>3174732A6/::037<D/:72/<2B63&3@A=<AA3@D7<5AC16

            /@3?C3ABA6/::03/;3;03@A=4B63(3BB:3;3<B:/AA/<2A6/::030=C<2/A/(3BB:3;3<B:/AA

            #3;03@0GB67A5@33;3<B74/>>@=D32<G;3;03@=4B63(3BB:3;3<B:/AAE6=D/:72:G3:31BA

            B=033F1:C2324@=;B67A5@33;3<BA6/::<=B7030=C<20G/<G=@23@A=@B637</: C25;3<B

            77033<B7B:32B=@3:734C<23@B67A(3BB:3;3<B5@33;3<B7775/7</<G@756BA0GD7@BC3=4B67A

            5@33;3<B=@7D033<B7B:32B==0831BB=/<G/A>31B=4B67A5@33;3<B)63@3?C3AB4=@

            3F1:CA7=<;CAB03>3@A=</::GA75<320GB63&3@A=<@3?C3AB7<53F1:CA7=<(=1/::32J;/AAK=@

            J1:/AAK=>B=CBAA6/::<=B03/::=E32)=03D/:72/@3?C3AB4=@3F1:CA7=<;CAB03>=AB;/@932=@

            @3137D320GB632/B3A>31747327<B63$=B713

                          )637</:>>@=D/:3/@7<5A6/::03<=3/@:73@B6/<<7<3BG 2/GA/4B3@B63

            $=B71323A1@70327<&/@/5@/>6 47A>@=D7232

                          <G(3BB:3;3<B:/AA#3;03@E6=2=3A<=BCA7<5B63>@=132C@3AA3B4=@B67<B67A

            5@33;3<B/<2B63$=B71337B63@A3393F1:CA7=<4@=;B63(3BB:3;3<B:/AA=@B7;3:G47:3/D/:72

            :/7;=@;A6/::<=B033<B7B:32B=@3137D3/<G>/G;3<B=@03<347BA>C@AC/<BB=B67A5@33;3<B

            0CBE7::=B63@E7A3030=C<20G/::=4B63B3@;A=4B67A5@33;3<B7<1:C27<5B63B3@;A=4B63




                                                              
         
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            


            7</: C25;3<BB=033<B3@327<B631B7=</<2B63'3:3/A3A>@=D72324=@7<B635@33;3<B/<2

            E7::030/@@324@=;0@7<57<5/<G/1B7=</5/7<AB/<G=4B63'3:3/A32&/@B73A1=<13@<7<5B63

            '3:3/A32:/7;A

                 &'' !' !&'%'"!

                           )63(3BB:3;3<B2;7<7AB@/B=@A6/::C<23@B63AC>3@D7A7=<=4B63=C@B/2;7<7AB3@

            B63@3:734>@=D72320GB67A(3BB:3;3<B5@33;3<B0G>@=13AA7<5:/7;=@;A7</@/B7=</:

            @3A>=<A7D31=AB34431B7D3/<2B7;3:G;/<<3@)63(3BB:3;3<B2;7<7AB@/B=@A6/::;/7<B/7<

            @3/A=</0:G23B/7:32@31=@2A=47BA/1B7D7B73AC<23@B67A5@33;3<B)63(3BB:3;3<B2;7<7AB@/B=@

            A6/::;/7<B/7</::AC16@31=@2A/A/@3@3?C7@320G/>>:71/0:3:/E7</11=@2/<13E7B67BA<=@;/:

            0CA7<3AA>@/1B713A/<2AC16@31=@2AE7::03;/23/D/7:/0:3B=:/AA=C<A3:/<2343<2/<BLA

            =C<A3:C>=<@3?C3AB)63(3BB:3;3<B2;7<7AB@/B=@A6/::/:A=>@=D723@3>=@BA/<2=B63@

            7<4=@;/B7=<B=B63=C@B/AB63=C@B;/G@3?C7@3)63(3BB:3;3<B2;7<7AB@/B=@A6/::>@=D723

            :/AA=C<A3:/<2343<2/<BLA=C<A3:E7B67<4=@;/B7=<1=<13@<7<5$=B713/2;7<7AB@/B7=</<2

            7;>:3;3<B/B7=<=4B63(3BB:3;3<B5@33;3<B(6=C:2B63=C@B@3?C3ABB63&/@B73AA6/::AC0;7B

            /B7;3:G@3>=@BB=B63=C@BAC;;/@7H7<5B63E=@9>3@4=@;320GB63(3BB:3;3<B2;7<7AB@/B=@

            7<1:C27<5/@3>=@B=4/::/;=C<BA4@=;B63(3BB:3;3<BC<2>/72B=(3BB:3;3<B:/AA#3;03@A=<

            /11=C<B=4>>@=D32:/7;A,7B6=CB:7;7B7<5B634=@35=7<5B63(3BB:3;3<B2;7<7AB@/B=@A6/::

                             -    =@E/@2B=343<2/<BLA=C<A3:E7B61=>73AB=:/AA=C<A3:/::=@757</:

            2=1C;3<BA/<2=B63@;/B3@7/:A@3137D327<1=<<31B7=<E7B6B63/2;7<7AB@/B7=<=4B63(3BB:3;3<B

            /<2/::1=>73AB63@3=4E7B67<B67@BG    2/GA/4B3@B632/B3=<E6716/:::/7;=@;A6/D3033<

            47</::G/>>@=D32=@27A/::=E327</11=@2/<13E7B6B63B3@;A=4B67A5@33;3<B

                             .    '3137D3@3?C3ABAB=033F1:C2324@=;B63(3BB:3;3<B:/AA/<2=B63@

            @3?C3ABA/<2>@=;>B:G>@=D723B=:/AA=C<A3:/<2343<2/<BLA=C<A3:1=>73AB63@3=44B63




                                                               
         
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            


            (3BB:3;3<B2;7<7AB@/B=@@3137D3A/<G3F1:CA7=<4=@;A=@=B63@@3?C3ABA/4B3@B6323/2:7<34=@

            B63AC0;7AA7=<=4AC164=@;A/<2@3?C3ABAB63(3BB:3;3<B2;7<7AB@/B=@A6/::>@=;>B:G>@=D723

            1=>73AB63@3=4B=:/AA=C<A3:/<2343<2/<BLA=C<A3:

                             /    &@=D72307E339:G@3>=@BAB=:/AA=C<A3:/<2343<2/<BLA=C<A3:

            7<1:C27<5E7B6=CB:7;7B/B7=<@3>=@BA@35/@27<5B63<C;03@=4:/7;=@;A@3137D32B63<C;03@

            />>@=D320GB63(3BB:3;3<B2;7<7AB@/B=@/<2B631/B35=@7H/B7=</<223A1@7>B7=<=4:/7;

            =@;A@3831B327<E6=:3=@7<>/@B0GB63(3BB:3;3<B2;7<7AB@/B=@/<2

                            0     #/93/D/7:/0:34=@7<A>31B7=<0G:/AA=C<A3:=@343<2/<BLA=C<A3:

            B63:/7;=@;A@3137D327<1:C27<5AC;;/@G@3>=@BA=4:/7;=@;A@3137D32

                           )63(3BB:3;3<B2;7<7AB@/B=@A6/::03=0:7532B=3;>:=G@3/A=</0:3>@=132C@3AB=

            A1@33<1:/7;A4=@/0CA3=@4@/C2/<223<G:/7;=@;AE63@3B63@37A3D723<13=4/0CA3=@

            4@/C2)63(3BB:3;3<B2;7<7AB@/B=@E7::@3831B/<G1:/7;B6/B2=3A<=B1=;>:G7</<G;/B3@7/:

            @3A>31BE7B6B637<AB@C1B7=<A=<B63:/7;=@;=@B63B3@;A=4&/@/5@/>6A  /<2 =@  /0=D3

            =@7AAC0;7BB32/4B3@B63:/7;A3/2:7<3/161:/7;/<BE6=AC0;7BA/<7<D/:72:/7;=@;B=

            B63(3BB:3;3<B2;7<7AB@/B=@;CAB0357D3</<=B713=4B63:/7;=@;LA2347173<1G/<2/<

            =>>=@BC<7BGB=1C@3B632347173<1GE7B67<BE3<BG=<3    2/GA=4B632/B3=4B63<=B713)63

            (3BB:3;3<B2;7<7AB@/B=@;/G1=<B/1B/<G&3@A=<E6=6/AAC0;7BB32/:/7;=@;B==0B/7<

            /227B7=</:7<4=@;/B7=<<313AA/@GB=D3@74GB63:/7;=@;

                           343<2/<BLA=C<A3:/<2:/AA=C<A3:A6/::6/D3B63@756BB=16/::3<53B63

            /113>B/<13=@@3831B7=<=4/:/7;=@;AC0;7BB320G(3BB:3;3<B:/AA#3;03@A/<2B==0B/7<

            /<2@3D73EAC>>=@B7<52=1C;3<B/B7=<@3:/B7<5B=AC16:/7;=@;)63(3BB:3;3<B

            2;7<7AB@/B=@A6/::4=::=E/<G/5@3322317A7=<A=4:/AA=C<A3:/<2343<2/<BLA=C<A3:/AB=

            B63D/:727BG=4/<G27A>CB32AC0;7BB32:/7;=@;)=B633FB3<B:/AA=C<A3:/<2343<2/<BLA




                                                            
         
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            


            =C<A3:/@3<=B/0:3B=/5@33=<B6327A>=A7B7=<=4/16/::3<53B6327A>CB321:/7;A6/::03

            AC0;7BB32B=)63=<=@/0:3#=@B=<3<:=E=4 #(4=@07<27<523B3@;7</B7=<

                            <B633F3@17A3=47BA2CB73A=CB:7<327<B67A5@33;3<BB63(3BB:3;3<B

            2;7<7AB@/B=@A6/::6/D3B63@756BB=@3/A=</0:G@3?C3AB/227B7=</:7<4=@;/B7=<4@=;B63&/@B73A

            =@/<G(3BB:3;3<B:/AA#3;03@

             '% !'"!"&'' !'

                           (C0831BB=&/@/5@/>6A  03:=E343<2/<B=@B63:/AA'3>@3A3<B/B7D3A=<

            036/:4=4B63(3BB:3;3<B:/AAA6/::6/D3B63@756BB=B3@;7</B3B67A5@33;3<B0G>@=D727<5

            E@7BB3<<=B713=4B633:31B7=<B=2=A=J)3@;7</B7=<$=B713KB=/::=B63@&/@B73A63@3B=E7B67<

            BE3<BG=<3      2/GA=4/<G=4B634=::=E7<53D3<BA7B63=C@BLA@34CA/:B=5@/<B&@3:7;7</@G

            >>@=D/:=4B67A5@33;3<B7</<G;/B3@7/:@3A>31B77B63=C@BLA@34CA/:B=5@/<B47</:

            />>@=D/:=4B67A5@33;3<B7</<G;/B3@7/:@3A>31B777B63=C@BLA@34CA/:B=3<B3@B637</:

                C25;3<B7<B67A1B7=<7</<G;/B3@7/:@3A>31B7DB632/B3C>=<E6716B637</: C25;3<B7A

            ;=274732=@@3D3@A327</<G;/B3@7/:@3A>31B0GB63=C@B=4>>3/:A=@B63(C>@3;3=C@B=@

            DB632/B3C>=<E6716/<:B3@</B7D3 C25;3<B/A2347<327<&/@/5@/>6 2=4B67A

            5@33;3<B7A;=274732=@@3D3@A327</<G;/B3@7/:@3A>31B0GB63=C@B=4>>3/:A=@B63

            (C>@3;3=C@B

                           (C0831BB=&/@/5@/>6A  03:=E343<2/<BA6/::6/D3B63@756B0CB<=BB63

            =0:75/B7=<7<7BAA=:327A1@3B7=<B=B3@;7</B3B67A5@33;3<B0G>@=D727<5E@7BB3<<=B713B=:/AA

            =C<A3:E7B67<BE3<BG47D3 2/GA=4B63<C;03@=4B7;3:G/<2D/:72:G=>B=CBA/<2 =@

            =0831B7=<AB=B635@33;3<B3F13327<5474B33<B6=CA/<2          (3BB:3;3<B:/AA#3;03@A

                           4343<2/<BA339AB=B3@;7</B3B635@33;3<B=<B630/A7A=4 /0=D3B63

            &/@B73A/5@33B6/B/<G27A>CB3/AB=E63B63@343<2/<B;/G7<D=93A31B7=< B=B3@;7</B3B63




                                                              
         
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            5@33;3<BB6/BB63G1/<<=B@3A=:D3=<B637@=E</4B3@@3/A=</0:35==24/7B6344=@BAE7::03

            AC0;7BB32B=B63=<=@/0:3#=@B=<3<:=E=4 #(4=@07<27<523B3@;7</B7=<

                          )63&/@B73A/5@33B6/BB63=C@BLA4/7:C@3B=/>>@=D37<E6=:3=@7<>/@BB63

            /BB=@<3GAL433A>/G;3<BB=:/AA=C<A3:/<2 =@B637<13<B7D3/E/@2A3B4=@B67<&/@/5@/>6

            03:=EA6/::<=B>@3D3<BB635@33;3<B4@=;031=;7<534431B7D3<=@A6/::7B035@=C<2A4=@

            B3@;7</B7=<)63>@=132C@3A4=@/<G/>>:71/B7=<4=@/>>@=D/:=4/BB=@<3GAL433A3F>3<A3A=@

            <13<B7D3E/@2A/@3B=031=<A723@320GB63=C@BA3>/@/B3:G4@=;B63=C@BLA1=<A723@/B7=<=4

            B634/7@<3AA@3/A=</0:3<3AA/<2/23?C/1G=4B63(3BB:3;3<B

             #% !%,##%")"%%!!##%")"%%

                          &@=;>B:G/4B3@B633F31CB7=<=4B67A(3BB:3;3<B5@33;3<B:/AA=C<A3:A6/::

            AC0;7BB67A5@33;3<BB=53B63@E7B67BAF6707BAB=B63=C@B/<2A6/::;=D3B63=C@B4=@

            &@3:7;7</@G>>@=D/:=4B63A3BB:3;3<BA3B4=@B67<B67A5@33;3<B13@B7471/B7=<=4B63

            (3BB:3;3<B:/AA4=@A3BB:3;3<B>C@>=A3A=<:G/>>=7<B;3<B=4:/AA=C<A3:/<2B63:/AA

            '3>@3A3<B/B7D3/<23<B@G=4/&@3:7;7</@G>>@=D/:%@23@E6716=@23@A6/::A3B/7</:

            >>@=D/:3/@7<52/B3/<2/>>@=D3B63$=B713/<2:/7;=@;4=@27AA3;7</B7=<AC0AB/<B7/::G

            7<B634=@;=4F6707BAand 63@3B=)63&@3:7;7</@G>>@=D/:%@23@A6/::/:A=

            /CB6=@7H3B63&/@B73AE7B6=CB4C@B63@/>>@=D/:4@=;B63=C@BB=/5@33B=/<2/2=>BAC16

            /;3<2;3<BA;=27471/B7=<A/<23F>/<A7=<A=4B63(3BB:3;3<B5@33;3<B/<27BA7;>:3;3<B7<5

            2=1C;3<BA7<1:C27<5/::3F6707BAB=B67A5@33;3<BA=:=<5/AB63G/@31=<A7AB3<B7</::;/B3@7/:

            @3A>31BAE7B6B63B3@;A=4B63(3BB:3;3<B5@33;3<B/<22=<=B:7;7B=@7;>/7@B63@756BA=4B63

            (3BB:3;3<B:/AA

                          343<2/<BLA/5@33;3<B/AB=13@B7471/B7=<=4B63(3BB:3;3<B:/AA7AA=:3:G4=@

            >C@>=A3A=434431BC/B7<5B63(3BB:3;3<B/<2<==B63@>C@>=A3343<2/<B@3B/7<A/::=47BA




                                                              
         
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            


            =0831B7=<A/@5C;3<BA/<22343<A3AE7B6@3A>31BB=1:/AA13@B7471/B7=</<2/<G=B63@7AAC3/<2

            @3A3@D3A/::@756BAB=1=<B3AB1:/AA13@B7471/B7=</<2/<G=B63@7AAC374B63(3BB:3;3<BA3B=CB7<B67A

            5@33;3<B2=3A<=B@3AC:B7<3<B@G=4B637</:>>@=D/:%@23@/<27</: C25;3<B74B63

            =C@BLA/>>@=D/:7A@3D3@A32=@D/1/B32=</>>3/:74B67A(3BB:3;3<B7AB3@;7</B32/A>@=D7232

            63@37<=@74B63(3BB:3;3<BA3B4=@B67<B67A(3BB:3;3<B=B63@E7A34/7:AB=031=;334431B7D3)63

            &/@B73A/19<=E:3253B6/BB63@36/A033<<=AB7>C:/B7=<B=/<G1:/AA3A=@13@B7471/B7=<=4/<G

            1:/AA3A4=@/<G>C@>=A3=B63@B6/<34431BC/B7<5B63(3BB:3;3<B/<2B6/B74B63(3BB:3;3<BA3B4=@B6

            7<B67A(3BB:3;3<B5@33;3<B7A<=B47</::G/>>@=D3274B63=C@BLA/>>@=D/:7A@3D3@A32=@

            D/1/B32=</>>3/:74B67A(3BB:3;3<B5@33;3<B7AB3@;7</B32/A>@=D723263@37<=@74B63

            (3BB:3;3<BA3B4=@B67<B67A(3BB:3;3<B5@33;3<B=B63@E7A34/7:AB=031=;334431B7D3B67A

            /5@33;3<B/AB=13@B7471/B7=<=4B63(3BB:3;3<B:/AA031=;3A<C::/<2D=72/07<7B7=/<2B67A

            (3BB:3;3<B5@33;3<B=@/<G=B63@A3BB:3;3<B@3:/B32AB/B3;3<B;/G<=B0317B32@35/@27<5

            13@B7471/B7=<=4B63:/AA=@7<AC>>=@B=4/</@5C;3<B4=@13@B74G7<5/<G1:/AA4=@/<G>C@>=A3

            @3:/B32B=B67A1B7=<=@/<G=B63@>@=13327<5

                          BB63B7;3=4B63AC0;7AA7=<=4B67A5@33;3<BB=B63=C@B/A23A1@7032/0=D3

            :/AA=C<A3:A6/::@3?C3ABB6/B/4B3@$=B7137A57D3<B63=C@B6=:2/7</:>>@=D/:3/@7<5

            /<2/>>@=D3B63A3BB:3;3<B=4B631B7=</AA3B4=@B663@37<

                          4B3@$=B7137A57D3<B63&/@B73AA6/::@3?C3AB/<2A339B==0B/7<4@=;B63=C@B/

            7</: C25;3<BE6716E7::/;=<5=B63@B67<5A

                             -    47<2B6/BB63=C@B6/A>3@A=</:8C@7A271B7=<=D3@/::(3BB:3;3<B:/AA

            #3;03@A/<2B6/BB63=C@B6/AAC0831B;/BB3@8C@7A271B7=<B=/>>@=D3B635@33;3<B7<1:C27<5

            /::3F6707BAB63@3B=

                             .    />>@=D3B63(3BB:3;3<B5@33;3<B/<2B63>@=>=A32A3BB:3;3<B/A4/7@




                                                              
         
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            


            @3/A=</0:3/<2/23?C/B3/AB=/<27<B6303AB7<B3@3ABA=4B63(3BB:3;3<B:/AA#3;03@A27@31B

            B63&/@B73A/<2B637@1=C<A3:B=7;>:3;3<B/<21=<AC;;/B3B635@33;3<B/11=@27<5B=7BAB3@;A

            /<2>@=D7A7=<A/<2231:/@3B635@33;3<BB=0307<27<5=</<26/D3!"$#/<2

            >@31:CA7D334431B7</::>3<27<5/<24CBC@3:/EAC7BA=@=B63@>@=13327<5A;/7<B/7<320G=@=<

            036/:4=4&:/7<B744A/<2'3:3/A7<5&/@B73A

                             /    47<2B6/BB63$=B7137;>:3;3<B32>C@AC/<BB=B635@33;3<B

             1=<AB7BCB3AB6303AB>@/1B71/0:3<=B713C<23@B6317@1C;AB/<13A 1=<AB7BCB3A<=B713B6/B7A

            @3/A=</0:G1/:1C:/B32C<23@B6317@1C;AB/<13AB=/>>@7A3B63(3BB:3;3<B:/AA=4B63>3<23<1G

            =4B631B7=<B637@@756BB==0831BB==@3F1:C23B63;A3:D3A4@=;B63>@=>=A325@33;3<B/<2B=

            />>3/@/BB637</:>>@=D/:3/@7<5 7A@3/A=</0:3/<21=<AB7BCB3A2C3/23?C/B3/<2

            AC447173<B<=B713B=/::>3@A=<A3<B7B:32B=@3137D3<=B713/<2;33BA/::/>>:71/0:3

            @3?C7@3;3<BA=4B63323@/:'C:3A=47D7:&@=132C@3B63C3&@=13AA:/CA3=4B63*<7B32

            (B/B3A=<AB7BCB7=</<2B63@C:3A=4B63=C@B

                             0    47<2B6/BB63:/AA'3>@3A3<B/B7D3A/<2:/AA=C<A3:/23?C/B3:G@3>@3A3<B

            B63(3BB:3;3<B:/AA4=@>C@>=A3A=43<B3@7<57<B=/<27;>:3;3<B7<5B635@33;3<B

                             1    27A;7AAB631B7=<7<1:C27<5/::7<27D72C/:1:/7;A/<2(3BB:3;3<B:/AA

            :/7;A>@3A3<B32B63@30G=<B63;3@7BA/<2E7B6>@38C2713E7B6=CB433A=@1=ABAB=/<G>/@BG

            3F13>B/A>@=D72327<B63(3BB:3;3<B5@33;3<B

                             2    7<1=@>=@/B3B63'3:3/A3A3B4=@B6/0=D3;/93B63'3:3/A334431B7D3/A=4

            B632/B3=4B634431B7D3/B3/<24=@3D3@27A16/@53B63'3:3/A32&/@B73A/AA3B4=@B663@37<

                             3    >3@;/<3<B:G0/@/<23<8=7</::(3BB:3;3<B:/AA#3;03@AE6=6/D3<=B

            033<>@=>3@:G3F1:C2324@=;B63@3A>31B7D3(3BB:3;3<B:/AA4@=;47:7<51=;;3<17<5

            >@=A31CB7<57<B3@D3<7<57<=@>/@B717>/B7<5/A1:/AA;3;03@A=@=B63@E7A37</<G:/EAC7B=@




                                                               
         
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            


            =B63@/1B7=<7</<G8C@7A271B7=<0/A32=<B63'3:3/A32:/7;A

                             4    E7B6=CB/4431B7<5B6347</:7BG=4B637</: C25;3<B4=@>C@>=A3A=4/>>3/:

            @3B/7<8C@7A271B7=</AB=/::;/BB3@A@3:/B7<5B=/2;7<7AB@/B7=<1=<AC;;/B7=<3<4=@13;3<B/<2

            7<B3@>@3B/B7=<=4B63(3BB:3;3<B5@33;3<B/<2B637</: C25;3<B/<24=@/<G=B63@<313AA/@G

            >C@>=A3/<27<1=@>=@/B3/<G=B63@>@=D7A7=<A/AB63=C@B233;A<313AA/@G/<28CAB

             &&"(!&G&''"%!,&G&!% (%& !'"
                  +#!&&!!')*%

                          &C@AC/<BB=32'7D&        6343<2/<B/5@33AB6/B:/AA=C<A3:A6/::03

            3<B7B:32B=/</E/@2=4@3/A=</0:3/BB=@<3GAL433A/<21=ABA=CB=4B63(3BB:3;3<BC<27</<

            /;=C<B23B3@;7<320GB63=C@B/AB6333E/@2,7B6<=1=<A723@/B7=<57D3<=@@3137D32

            :/AA=C<A3:E7:::7;7B7BA>3B7B7=<4=@/BB=@<3GAL433A1=ABA/<23F>3<A3AB=<=;=@3B6/<=<3

            B67@2=4B63(3BB:3;3<B3<347B                 &/G;3<B=4B6333E/@2A6/::03;/23

            4@=;B63(3BB:3;3<BC<2/<2A6=C:2B63=C@B/E/@2:3AAB6/<B63/;=C<BA=C56B0G:/AA

            =C<A3:B6327443@3<137<B63/;=C<BA=C56B/<2B63/;=C<BC:B7;/B3:G/E/@232>C@AC/<BB=B67A

            &/@/5@/>6A6/::@3;/7<7<B63(3BB:3;3<BC<24=@27AB@70CB7=<B=3:7570:3(3BB:3;3<B:/AA

            #3;03@A

                          )6333E/@2A6/::03>/G/0:3E7B67<B3<           2/GA/4B3@3<B@G=4B63=C@BLA

            7</: C25;3<B&/G;3<B=4B6333E/@2A6/::03;/230GE7@3B@/<A43@B=&37443@,=:4/@@

            !/<3=<E/G,7A3""&7</11=@2/<13E7B6E7@37<AB@C1B7=<AB=03>@=D7232B=B63

            (3BB:3;3<B2;7<7AB@/B=@1=;>:3B7=<=4<313AA/@G4=@;A7<1:C27<50CB<=B:7;7B32B=,

            4=@;A$=BE7B6AB/<27<5B634=@35=7<5744=@/<G@3/A=<B637</: C25;3<B7A@3D3@A32=@

            @3<23@32D=72/A/@3AC:B=4/</>>3/:AB63<:/AA=C<A3:A6/::@3BC@<AC164C<2AB=B63

            (3BB:3;3<BC<2

                          :/AA=C<A3:7<B3<2AB=47:3/;=B7=<4=@=C@B/>>@=D/:=4/<7<13<B7D3/E/@2



                                                                  
         
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            4=@B63:/AA'3>@3A3<B/B7D3AB=03>/724@=;B63(3BB:3;3<BC<27</227B7=<B=/<G4C<2AB63

            :/AA'3>@3A3<B/B7D3AB/<2AB==B63@E7A3@3137D34@=;B63(3BB:3;3<B,7B6<=1=<A723@/B7=<

            6/D7<5033<57D3<=@@3137D324=@B67A:7;7B/B7=<B63:/AA'3>@3A3<B/B7D3E7::A339<=;=@3B6/<

                  3/16/A/<7<13<B7D3/E/@2(6=C:2B63=C@B/E/@2:3AAB6/<B67A/;=C<BB6327443@3<13

            7<B63/;=C<BA=C56B/<2B63/;=C<BC:B7;/B3:G/E/@232>C@AC/<BB=B67A&/@/5@/>6A6/::@3;/7<

            7<B63(3BB:3;3<BC<24=@27AB@70CB7=<B=3:7570:3(3BB:3;3<B:/AA#3;03@A(C16/E/@2A6/::

            03>/724@=;B63(3BB:3;3<BC<2D7/;3/<A27@31B320GB63:/AA'3>@3A3<B/B7D3AE7B67<B67@BG

                 2/GA/4B3@B634431B7D3/B3

             "!'"!&"&'' !''"&##%")!'"!
                  "%'% !'"!

                           )634431B7D3/B3=4B67A(3BB:3;3<B5@33;3<BA6/::<=B=11C@C<:3AA/<2C<B7:

            3/16=4B634=::=E7<53D3<BA=11C@A/<2A6/::03B632/B3C>=<E6716B63:/AB7<B7;3=4B63

            4=::=E7<53D3<BA=11C@A

                              -    )63&/@B73A/<2B637@1=C<A3:6/D33F31CB32B67A5@33;3<B

                              .    )63=C@B6/A3<B3@32B63&@3:7;7</@G>>@=D/:%@23@

                              /    )63=C@B6/A3<B3@32/<=@23@47</::G/>>@=D7<5B635@33;3<B

            4=::=E7<5$=B713B=B63(3BB:3;3<B:/AA/<2/7</:>>@=D/:3/@7<5/A>@=D72327<B63

            323@/:'C:3A=47D7:&@=132C@3/<26/A3<B3@32B637</: C25;3<B=@/8C25;3<B1=<A7AB3<B

            E7B6B67A5@33;3<B7</::;/B3@7/:@3A>31BA/<2

                              0    )637</: C25;3<B6/A031=;37</:/A2347<32/0=D3=@7<B633D3<B

            B6/BB63=C@B3<B3@A/<=@23@/<247</:8C25;3<B7</4=@;=B63@B6/<B6/B>@=D7232/0=D3

            J:B3@</B7D3 C25;3<BK/<2B6/B6/AB631=<A3<B=4B63&/@B73AAC16:B3@</B7D3 C25;3<B

            031=;3A7</:

                           4A=;3=@/::=4B631=<27B7=<AA>31747327<&/@/5@/>6 /@3<=B;3B=@7<B63



                                                              
         
                 Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 27 of 46 PageID #:270

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            3D3<BB6/BB67A5@33;3<B7A<=B/>>@=D320GB63=C@B=@B63A3BB:3;3<BA3B4=@B67<B67A

            5@33;3<B7AB3@;7</B32=@4/7:AB=031=;334431B7D37</11=@2/<13E7B67BAB3@;AB63<B67A

            (3BB:3;3<B5@33;3<BA6/::031/<13:32/<2B3@;7</B32AC0831BB=&/@/5@/>6 C<:3AA:/AA

            =C<A3:/<2343<2/<BLA=C<A3:;CBC/::G/5@337<E@7B7<5B=>@=1332E7B6B67A5@33;3<B4

            /<G&/@BG7A7<;/B3@7/:0@3/16=4B63B3@;A63@3=4/<24/7:AB=1C@3AC16;/B3@7/:0@3/16E7B67<

                 2/GA=4<=B713/<G=B63@&/@BG>@=D7232B6/B7B7A7<AC0AB/<B7/:1=;>:7/<13E7B6B63B3@;A=4

            B67A5@33;3<B;/GB3@;7</B3B67A5@33;3<B=<<=B713B=/::=4B63(3BB:7<5&/@B73A

                          4B67A5@33;3<B7AB3@;7</B32=@4/7:AB=031=;334431B7D34=@B63@3/A=<AA3B

            4=@B67<&/@/5@/>6A /<2  /0=D3B63&/@B73AA6/::03@3AB=@32B=B637@@3A>31B7D3

            >=A7B7=<A7<B631B7=</A=4B632/B3=4B63A75<7<5=4B67A5@33;3<B<AC163D3<B/<G7</:

                C25;3<B=@=B63@=@23@3<B3@320GB63=C@B7</11=@2/<13E7B6B63B3@;A=4B67A5@33;3<B

            A6/::03B@3/B32/AD/1/B32$!#$/<2B63&/@B73AA6/::03@3BC@<32B=B63"##$" $#

            E7B6@3A>31BB=B631B7=</A74B67A5@33;3<B6/2<3D3@033<3<B3@327<B=

                 &!"(&#%")&"!&

                         )63&/@B73A//19<=E:3253B6/B7B7AB637@7<B3<BB=1=<AC;;/B3B67A(3BB:3;3<B

            5@33;3<B/<20/5@33AC0831BB=B637@472C17/@G/<2=B63@:35/:=0:75/B7=<AB=1==>3@/B3B=

            B633FB3<B@3/A=</0:G<313AA/@GB=34431BC/B3/<27;>:3;3<B/::B3@;A/<21=<27B7=<A=4B67A

            5@33;3<BB=3F3@17A3B637@@3/A=</0:303AB344=@BAB=/11=;>:7A6B634=@35=7<5B3@;A/<2

            1=<27B7=<A=4B67A5@33;3<BB=A31C@347</:/>>@=D/:/<2B=2343<2B637</: C25;3<BB6@=C56

            /<G/<2/::/>>3/:A:/AA=C<A3:/<2343<2/<BLA=C<A3:/5@33B=1==>3@/B3E7B6=<3/<=B63@

            7<A3397<5=C@B/>>@=D/:=4B63(3BB:3;3<B5@33;3<B3<B@G=4B63&@3:7;7</@G>>@=D/:

            %@23@/<2B637</: C25;3<B/<2>@=;>B:GB=/5@33C>=</<23F31CB3/::AC16=B63@

            2=1C;3<B/B7=</A;/G03@3/A=</0:G@3?C7@32B==0B/7<47</:/>>@=D/:=4B635@33;3<B




                                                               
         
                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 28 of 46 PageID #:271

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                        )63&/@B73A7<B3<2B67A(3BB:3;3<B5@33;3<BB=03/47</:/<21=;>:3B3

            @3A=:CB7=<=4/::27A>CB3A03BE33<B63;E7B6@3A>31BB=B63'3:3/A32:/7;A0G&:/7<B744B63

            (3BB:3;3<B:/AA/<23/16=@/<G=4B63;=<B63=<36/<2/5/7<ABB63'3:3/A32&/@B73A/<2

            3/16=@/<G=4B63'3:3/A32&/@B73A=<B63=B63@6/<211=@27<5:GB63&/@B73A/5@33<=BB=

            /AA3@B7</<G4=@C;B6/BB631B7=<E/A0@=C56B0G&:/7<B744A=@2343<2320G343<2/<B=@3/16

            =@/<G=4B63;7<0/24/7B6=@=</4@7D=:=CA0/A7A

                        )63&/@B73A6/D3@3:732C>=<B63/2D713/<2@3>@3A3<B/B7=<=41=C<A3:A3:31B320G

            B63;1=<13@<7<5B637@@3A>31B7D3:35/::7/07:7BG4=@B631:/7;A63@30G@3:3/A32)63&/@B73A6/D3

            @3/2/<2C<23@AB/<24C::GB63/0=D3/<24=@35=7<5/5@33;3<B/<26/D3033<4C::G/2D7A32/AB=

            B63:35/:34431BB63@3=40G1=C<A3:=4B637@=E<A3:31B7=</<27<B3<2B=03:35/::G0=C<20GB63

            A/;3

                        ,63B63@=@<=BB634431B7D3/B3=11C@A=@B63(3BB:3;3<B5@33;3<B7A

            B3@;7</B32<37B63@B67A5@33;3<B<=@B63A3BB:3;3<B1=<B/7<3263@37<<=@/<G/1B>3@4=@;32=@

            2=1C;3<B3F31CB32>C@AC/<BB==@7<4C@B63@/<13=4B67A5@33;3<B=@B63A3BB:3;3<B

                             -    7A;/G03233;32=@A6/::03CA32=443@32=@@3137D32/5/7<ABB63

            '3:3/A32&/@B73A=@3/16=@/<G=4B63;/A/</2;7AA7=<1=<13AA7=<=@3D723<13=4B63D/:727BG

            =4/<G'3:3/A32:/7;AB63B@CB6=4/<G4/1B/::35320GB63&:/7<B744AB632347173<1G=4/<G

            2343<A3B6/B6/A033<=@1=C:26/D3033</AA3@B327<B631B7=<B63D7=:/B7=<=4/<G:/E=@

            AB/BCB3B63@3/A=</0:3<3AA=4B63A3BB:3;3<B/;=C<B=@B6333E/@2=@=4/<G/::3532

            E@=<52=7<5:7/07:7BG<35:753<13=@4/C:B=4B63'3:3/A32&/@B73A=@/<G=4B63;

                             .    7A;/G03233;32=@A6/::03CA32=443@32=@@3137D32/5/7<AB

            343<2/<B/A/</2;7AA7=<1=<13AA7=<=@3D723<13=4/<G4/C:B;7A@3>@3A3<B/B7=<=@=;7AA7=<

            E7B6@3A>31BB=/<GAB/B3;3<B=@E@7BB3<2=1C;3<B/>>@=D32=@;/230GB63'3:3/A32&/@B73A=@




                                                              
         
                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 29 of 46 PageID #:272

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            /<G=4B63;

                             /    7A;/G03233;32=@A6/::03CA32=443@32=@@3137D32/5/7<ABB63

            '3:3/A32&/@B73A=@3/16=@/<G=4B63;/A/</2;7AA7=<=@1=<13AA7=<E7B6@3A>31BB=/<G

            :7/07:7BG<35:753<134/C:B=@E@=<52=7<5/A/5/7<AB/<G'3:3/A32&/@B73A7</<G17D7:1@7;7</:

            =@/2;7<7AB@/B7D3>@=13327<57</<G1=C@B/2;7<7AB@/B7D3/53<1G=@=B63@B@70C</:=E3D3@B63

            A3BB:3;3<BB67A5@33;3<B/<2/<G/1BA>3@4=@;32/<2 =@2=1C;3<BA3F31CB327<4C@B63@/<13=4

            =@>C@AC/<BB=B67A5@33;3<B/<2 =@(3BB:3;3<B;/G03CA327</<G>@=13327<5A/A;/G03

            <313AA/@GB=34431BC/B3B63>@=D7A7=<A=4B67A5@33;3<BC@B63@74B67A(3BB:3;3<B5@33;3<B7A

            />>@=D320GB63=C@B/<G&/@BG=@/<G=4B63'3:3/A32&/@B73A;/G47:3B67A5@33;3<B/<2 =@

            B637</: C25;3<B7</<G/1B7=<B6/B;/G030@=C56B/5/7<ABAC16&/@BG=@&/@B73A7<=@23@B=

            AC>>=@B/2343<A3=@1=C<B3@1:/7;0/A32=<>@7<17>:3A=4!"$#1=::/B3@/:3AB=>>3:@3:3/A3

            5==24/7B6A3BB:3;3<B8C25;3<B0/@=@@32C1B7=<=@/<G=B63@B63=@G=41:/7;>@31:CA7=<=@7AAC3

            >@31:CA7=<=@A7;7:/@2343<A3=@1=C<B3@1:/7;

                             0    7A;/G03233;32=@A6/::031=<AB@C32/5/7<AB&:/7<B744AB63(3BB:3;3<B

            :/AAB63'3:3/A7<5&/@B73A=@3/16=@/<G=4B63;=@/5/7<ABB63'3:3/A32&/@B73A=@3/16=@

            /<G=4B63;/A/</2;7AA7=<=@1=<13AA7=<B6/BB631=<A723@/B7=<B=0357D3<63@3C<23@

            @3>@3A3<BA/</;=C<B3?C/:B=:3AAB6/<=@5@3/B3@B6/<B6/B/;=C<BB6/B1=C:26/D3=@E=C:2

            6/D3033<@31=D3@32/4B3@B@7/:/<2

                             1    7A;/G03233;32=@A6/::031=<AB@C32/A=@@3137D327<3D723<13/A/<

            /2;7AA7=<=@1=<13AA7=</5/7<AB&:/7<B744AB63(3BB:3;3<B:/AAB63'3:3/A7<5&/@B73A=@3/16

            /<2/<G=4B63;=@/5/7<ABB63'3:3/A32&/@B73A=@3/16=@/<G=4B63;B6/B/<G=4&:/7<B744AL

            1:/7;A/@3E7B6=@E7B6=CB;3@7B=@B6/B2/;/53A@31=D3@/0:37<B631B7=<E=C:26/D33F133232

            =@E=C:26/D3033<:3AAB6/</<G>/@B71C:/@/;=C<B




                                                              
         
                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 30 of 46 PageID #:273

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                        )6363/27<5ACA3263@37</@3CA324=@B63>C@>=A3=41=<D3<73<13=<:G/<2/@3

            <=B;3/<BB=6/D3:35/:34431B

                       )63E/7D3@0G=<3&/@BG=4/<G0@3/16=4B67A5@33;3<B0G/<G=B63@&/@BGA6/::

            <=B03233;32/A/E/7D3@=4/<G=B63@>@7=@=@AC0A3?C3<B0@3/163A=4B67A5@33;3<B

                       ::B63F6707BAB=B67A5@33;3<B/@3;/B3@7/:/<27<B35@/:>/@BAB63@3=4/<2/@3

            4C::G7<1=@>=@/B3263@37<0GB67A@343@3<13

                       )67A5@33;3<B/<27BAF6707BAA3B4=@B6B633<B7@3/5@33;3<B/<2C<23@AB/<27<5

            =4B63&/@B73AE7B6@3A>31BB=B63;/BB3@AA3B4=@B663@37</<2AC>3@A323/::>@7=@<35=B7/B7=<A

            /5@33;3<BA/@@/<53;3<BA/<2C<23@B/97<5AE7B6@3A>31BB=B63;/BB3@AA3B4=@B663@37<$=

            @3>@3A3<B/B7=<AE/@@/<B73A=@7<2C13;3<BA6/D3033<;/23B=/<G&/@BG1=<13@<7<5B67A

            (3BB:3;3<B5@33;3<B=@7BAF6707BA=B63@B6/<B63@3>@3A3<B/B7=<AE/@@/<B73A/<21=D3</<BA

            1=<B/7<32/<2;3;=@7/:7H327<AC162=1C;3<BA)67A5@33;3<B;/G03/;3<232=@;=274732

            =<:G0G/E@7BB3<7<AB@C;3<BA75<320G=@=<036/:4=4/::&/@B73A=@B637@@3A>31B7D3AC113AA=@A

            7<7<B3@3AB

                       F13>B/A=B63@E7A3>@=D723263@37<3/16&/@BGA6/::03/@7BA=E<1=ABA

                        &:/7<B744A@3>@3A3<B/<2E/@@/<BB6/B<37B63@6/A/AA75<32/<G1:/7;=@@756B=@

            7<B3@3ABB63@37</A/5/7<ABB63'3:3/A32&/@B73AB=/<G=B63@&3@A=<=@&/@BG/<2B6/B3/167A4C::G

            3<B7B:32B=@3:3/A3B63A/;3

                           /161=C<A3:=@=B63@&3@A=<3F31CB7<5B67A(3BB:3;3<B5@33;3<B/<G=47BA

            F6707BA=@/<G@3:/B32A3BB:3;3<B2=1C;3<BA=<036/:4=4/<G&/@BG63@3B=63@30GE/@@/<BA/<2

            @3>@3A3<BAB6/BAC16&3@A=<6/AB634C::/CB6=@7BGB=2=A=/<26/AB63/CB6=@7BGB=B/93

            />>@=>@7/B3/1B7=<@3?C7@32=@>3@;7BB32B=03B/93<>C@AC/<BB=B635@33;3<BB=34431BC/B37BA

            B3@;A:/AA=C<A3:7<>/@B71C:/@E/@@/<BAB6/BB63G/@3/CB6=@7H32B=3F31CB3B67A(3BB:3;3<B




                                                             
         
                Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 31 of 46 PageID #:274

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            5@33;3<B=<036/:4=4&:/7<B744A/<2B63(3BB:3;3<B:/AAAC0831BB=47</:/>>@=D/:0GB63

            =C@B/4B3@<=B713B=/::(3BB:3;3<B:/AA#3;03@A/<2B6/B/::/1B7=<A<313AA/@G4=@B63

            3F31CB7=<=4B67A(3BB:3;3<B5@33;3<B6/D3033<B/93<

                          )67A5@33;3<B;/G033F31CB327<=<3=@;=@31=C<B3@>/@BA(75</BC@30G

            2757B/:;3/<A4/1A7;7:3=@7<&4=@;/BE7::1=<AB7BCB3AC447173<B3F31CB7=<=4B67A5@33;3<B

            ::3F31CB321=C<B3@>/@BA/<23/16=4B63;A6/::03233;32B=03=<3/<2B63A/;37<AB@C;3<B

            1=;>:3B3A3B=4=@757</:3F31CB321=C<B3@>/@BAA6/::0347:32E7B6B63=C@B74B63=C@BA=

            @3?C3ABA

                          )67A(3BB:3;3<B5@33;3<BA6/::0307<27<5C>=</<27<C@3B=B6303<347B=4B63

            AC113AA=@A/<2/AA75<A=4B63&/@B73A63@3B=/<2B63'3:3/A32&/@B73A

                          )63=C@BA6/::@3B/7<8C@7A271B7=<E7B6@3A>31BB=7;>:3;3<B/B7=</<2

            3<4=@13;3<B=4B63B3@;A=4B67A5@33;3<B/<2/::&/@B73A63@3B=AC0;7BB=B638C@7A271B7=<=4

            B63=C@B4=@>C@>=A3A=47;>:3;3<B7<5/<23<4=@17<5B63A3BB:3;3<B3;0=27327<B67A

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                 EXHIBIT A
  Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 35 of 46 PageID #:278




    Salvador Beltran, Jr. and Eli Gross, et al. v. Sony Pictures Entertainment, Inc. d/b/a Crunchyroll
                     United States District Court for the Norther District of Illinois
                                        Case No.: 1:22-cv-04858
                                    SETTLEMENT CLAIM FORM

If you are a Settlement Class Member and wish to receive a payment, your completed Claim Form must be
postmarked on or before December 12, 2023, or submitted online on or before December 12, 2023.

To be eligible to receive any benefits from the settlement obtained in this class action lawsuit, you must
submit this completed Claim Form online or by mail:
        ONLINE:         Submit this Claim Form.
        MAIL:           Kroll Settlement Administration LLC


PART ONE: CLAIMAINT INFORMATION

Provide your name and contact information below. It is your responsibility to notify the Settlement
Administrator of any changes to your contact information after the submission of your Claim Form.

Your Name:
                        First                    Middle                   Last

Your Address:
                         Street                  Apt.            City             State   Zip Code

Your Telephone Number:

Your Email Address:

Email Address Associated with your Crunchyroll Account:          ________________________________

POTENTIAL CASH PAYMENT: You may be entitled to receive a cash payment, which Class Counsel
estimates will be approximately $30, but the exact amount is not yet known and could be more or less.

Popular electronic payment options such as Venmo and PayPal are available, unless you prefer a physical
check. Please ensure you have provided a current and complete email address.

PART TWO: ATTESTATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury under the law of the United States of America that during the period
between September 8, 2020 and preliminary approval of this settlement, I was a registered user of an online
website, mobile app, or any video-on-demand service or app owned, controlled, and/or operated by
Crunchyroll and viewed videos on an online website, mobile app, or any video-on-demand service or app
owned, controlled, and/or operated by Crunchyroll. I also declare that all information on this Claim Form
is true and correct to the best of my knowledge. I understand that my Claim Form may be subject to audit
verification and Court review.

Date: ___________________________ Signature: __________________________________________
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                 EXHIBIT B
 Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 37 of 46 PageID #:280




                                           Email Notice

TO:            <<Class Member Email>>
FROM:          Settlement Administrator <<Settlement@chosendomain.com>>
RE:            Legal Notice of Class Action Settlement

               NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
      Beltran, et al. v. Sony Pictures Entertainment Inc., d/b/a Crunchyroll; 1:22-cv-4858
                (United States District Court for the Northern District of Illinois)

  Our Records Indicate You May Be Entitled to a Payment from a Class Action Settlement
                         Because You Subscribed to Crunchyroll

                      Click [HERE] To File A Claim for a Cash Payment

                 Claims Must be Submitted no later than [Claims Deadline].

A court authorized this notice. You are not being sued. This is not a solicitation from a lawyer.

This notice is to inform you that a settlement has been reached in a class action lawsuit claiming
that Crunchyroll, LLC (“Defendant”), disclosed its subscribers’ personally identifiable
information to third parties using tracking pixels and/or web beacons, without its subscribers’
consent, in violation of the Video Privacy Protection Act (the “VPPA”). Personally identifiable
information includes information which identifies a specific person as having requested or
obtained specific video materials or services from a video tape service provider. Defendant
denies that it violated any law but has agreed to the settlement to avoid the uncertainties and
expenses associated with continuing the case.

Am I a Settlement Class Member? Records indicate you may be a Settlement Class Member.
“Settlement Class” means all persons in the United States who, from September 8, 2020, to and
through preliminary approval of the settlement and (1) were registered users of an online website,
mobile app, or any video-on-demand service or app owned, controlled, and/or operated by
Crunchyroll; and (2) who viewed videos on an online website, mobile app, or any video-on-
demand service or app owned, controlled, and/or operated by Crunchyroll.

What Can I Get? If approved by the Court, Defendant will create a Settlement Fund of
$16,000,000 for the benefit of the Settlement Class. The Settlement Fund will be distributed
to Settlement Class Members who file a timely and complete claim on a pro rata basis (meaning
equal share), after deducting any Court-approved attorneys’ fees and expenses, service award
for the class representative, and costs of settlement administration (including payment of any
associated taxes).

How Do I Get a Payment? You must submit a timely and complete Claim Form no later than
[claims deadline]. You can file a claim by clicking here. A variety of payment options are available,
including different electronic payment platforms, and those options are available for review here.
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What are My Other Options? You may exclude yourself from the Settlement Class by sending
a letter to the Settlement Administrator no later than [objection/exclusion deadline]. If you
exclude yourself, you cannot get a settlement payment, but you will keep any rights you may
have to sue Defendant regarding the issues in the lawsuit. You may object to the proposed
settlement, and you and/or your lawyer have the right to appear before the Court. Your written
objection must be filed no later than [objection/exclusion deadline]. Specific instructions about
how to exclude yourself from, or object to, the Settlement are available at here. If you file a
claim or do nothing, and the Court approves the Settlement, you will be bound by all of the
Court’s orders and judgments. In addition, your claims against Defendant relating to issues in
this case will be released.

Who Represents Me? The Court has appointed lawyers Brandon Wise and Adam Florek
(Peiffer Wolf Carr Kane Conway & Wise, LLP) and Michael L. Murpy (Bailey Glasser LLP) to
represent the Settlement Class. These lawyers are called Class Counsel. You will not be charged
for these lawyers. If you want to be represented by your own lawyer in this case, you may hire
one at your expense.

When Will the Court Consider the Proposed Settlement? The Court will hold the Final
Approval Hearing at                                           a.m./p.m. on [date] in at
                               . The purpose of the hearing will be for the Court to determine
whether to approve the Settlement as fair, reasonable, adequate, and in the best interests of the
Settlement Class; to consider the Class Counsels’ request for attorneys’ fees and expenses; and to
consider the request for a Service Award to the Class Representatives. At that hearing, the Court
will be available to hear any objections and arguments concerning the fairness of the Settlement.

How Do I Get More Information? More information, including the full Notice, Claim Form
and Settlement Agreement can be viewed here. You may also contact the Settlement
Administrator at 1-800-000-000 or Crunchyroll VPPA Settlement Administrator, PO Box XXX
CITY, XX XXXXX, or call Class Counsel at 314-833-4827.
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                 EXHIBIT C
Case: 1:22-cv-04858 Document #: 46-1 Filed: 09/15/23 Page 40 of 46 PageID #:283




                United States District Court for the Northern District of Illinois

                     Salvador Beltran, Jr. and Eli Gross, et al. v. Sony Pictures
                              Entertainment, Inc. d/b/a Crunchyroll
                                     Case No.: 1:22-cv-04858
      Our Records Indicate You Have Subscribed to Crunchyroll and May Be Entitled to
                        a Payment From a Class Action Settlement.
      A court authorized this notice. You are not being sued. This is not a solicitation from a
                                              lawyer.
  •     A settlement has been reached in a class action lawsuit against Crunchyroll, LLC
        (“Crunchyroll” or “Defendant”). The class action lawsuit accuses Crunchyroll of
        disclosing its subscribers’ personally identifiable information (“PII”) to third parties
        without consent in violation of the Video Privacy Protection Act (the “VPPA”). The
        VPPA defines PII to include information which identifies a specific person as having
        requested or obtained specific video materials or services from a video tape service
        provider. Defendant denies that it violated any law, but has agreed to the settlement to
        avoid the uncertainties and expenses associated with continuing the case.
  •     You are included if you are a person in the United States who, from September 8, 2020
        through the time of preliminary approval of this settlement: (1) were a registered user of
        an online website, mobile app, or any video-on-demand service or app owned, controlled,
        and/or operated by Crunchyroll; and (2) viewed videos on an online website, mobile app,
        or any video-on-demand service or app owned, controlled, and/or operated by
        Crunchyroll.
  •     Persons included in the Settlement will be eligible to receive a pro rata (meaning equal)
        portion of the Settlement Fund, which Class Counsel anticipates to be approximately
        $30.00, but the exact amount is not yet known and could be more or less.
  •     Read this notice carefully. Your legal rights are affected whether you act, or don’t act.

                     YOUR LEGAL RIGHTS AND OPTIONS IN THIS
                                    SETTLEMENT
SUBMIT A CLAIM FORM This is the only way to receive a payment.
BY December 12, 2023
EXCLUDE YOURSELFBY You will receive no benefits, but you will retain any rights you currently
November 27, 2023        have to sue the Defendant about the claims in this case.
OBJECT BY November 27, Write to the Court explaining why you don’t like the Settlement.
2023
GO TO THE HEARING      Ask to speak in Court about your opinion of the Settlement.
ON December 19, 2023
                       You won’t get a share of the Settlement benefits and will give up your
DO NOTHING             rights to sue the Defendant about the claims in this case.
Your rights and options—and the deadlines to exercise them—are explained in this Notice.




                                                 1
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                                                BASIC INFORMATION

1.       Why was this Notice issued?


           A Court authorized this notice because you have a right to know about a proposed Settlement
           of this class action lawsuit and about all of your options, before the Court decides whether to
           give final approval to the Settlement. This Notice explains the lawsuit, the Settlement, and
           your legal rights. The Honorable Sara L. Ellis, of the U.S. District Court for the Northern
           District of Illinois, is overseeing this case. The case is called Beltran, et al. v. Sony Pictures
           Entertainment, Inc. d/b/a Crunchyroll; Case No.: 1:22-cv-04858. The people who have sued
           are called the Plaintiffs. The Defendant is Crunchyroll, LLC.1

2.       What is a class action?

           In a class action, one or more people called the class representative(s) (in this case, Salvador
           Beltran, Jr. and Eli Gross) sue on behalf of a group or a “class” of people who have similar
           claims. In a class action, the court resolves the issues for all class members, except for those
           who exclude themselves from the Class.

3.       What is this lawsuit about?


           This lawsuit claims that Defendant violated the Video Privacy Protection Act, 18 U.S.C. §
           2710, et seq. (“VPPA”) by disclosing its subscribers’ personally identifiable information
           (“PII”) to third parties, including Facebook, Google, Adobe, and others without consent. The
           VPPA defines PII to include information which identifies a specific person as having
           requested or obtained specific video materials or services from a video tape service provider.
           The Defendant denies that it violated any law. The Court has not determined who is right.
           Rather, the Parties have agreed to settle the lawsuit to avoid the uncertainties and expenses
           associated with ongoing litigation.

4.       Why is there a Settlement?


           The Court has not decided whether the Plaintiffs or the Defendant should win this case.
           Instead, both sides agreed to a Settlement. That way, they avoid the uncertainties and
           expenses associated with ongoing litigation, and Class Members will get compensation
           sooner rather than, if at all, after the completion of a trial.
                                          Who’s Included in the Settlement?

5.       How do I know if I am in the Settlement Class?

           The Settlement Class is defined as:
           all persons in the United States who: (1) were registered users of an online website, mobile

     1
       Sony Pictures Entertainment Inc. was incorrectly named as the Defendant in the case. Sony Pictures Entertainment
     Inc. is a separate corporation from Crunchyroll, LLC and is not a party to the Settlement.




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      app, or any video-on-demand service or app owned, controlled, and/or operated by
      Crunchyroll; and (2) who viewed videos on an online website, mobile app, or any video-on-
      demand service or app owned, controlled, and/or operated by Crunchyroll during the Class
      Period.
                                         The Settlement Benefits

6.   What does the Settlement provide?


      Monetary Relief: Defendant has created a Settlement Fund totaling $16,000,000.00. Class
      Member payments, and the cost to administer the Settlement, the cost to inform people about
      the Settlement, attorneys’ fees, and an award to the Class Representatives will also come out
      of this fund (see Question 13).
      A detailed description of the settlement benefits can be found in the Settlement Agreement
      available on the settlement website at www.crunchyrollvppasettlement.com



7.   How much will my payment be?
      If you are member of the Settlement Class you may submit a Claim Form to receive a portion
      of the Settlement Fund. The amount of this payment will depend on how many of the Class
      Members file valid claims. Each Class Member who files a valid claim will receive a
      proportionate share of the Settlement Fund, which Class Counsel anticipates will be
      approximately $30.00. You can contact Settlement Administrator at ________to inquire as
      to the number of claims filed.

8.   When will I get my payment?


      The hearing to consider the fairness of the settlement is scheduled for December 19, 2023. If
      the Court approves the settlement, eligible Class Members whose claims were approved by
      the Settlement Administrator will receive their payment 90 days after the Settlement has been
      finally approved and/or any appeals process is complete. You will have the option of how
      you wish to receive your settlement funds. More information is available at
      www.crunchyrollvppasettlement.com.
                                          How to Get Benefits

9.   How do I get a payment?


      If you are a Class Member and you want to get a payment, you must complete and submit a
      Claim Form by December 12, 2023. An online Claim Form can be submitted on the
      settlement website at www.crunchyrollvppasettlement.com or by printing and mailing a
      paper Claim Form, copies of which are available for download on the settlement website
      www.crunchyrollvppasettlement.com.
      We encourage you to submit your claim online. Not only is it easier and more secure, but it
      is completely free and takes only minutes!




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                                         Remaining in the Settlement

10.   What am I giving up if I stay in the Class?


        If the Settlement becomes final, you will give up your right to sue Defendant for the claims
        this Settlement resolves. The Settlement Agreement describes the specific claims you are
        giving up against the Defendants. You will be “releasing” the Defendant and certain of its
        affiliates described in Section 1.24 of the Settlement Agreement. Unless you exclude yourself
        (see Question 14), you are “releasing” the claims, regardless of whether you submit a claim
        or not. The Settlement Agreement is available through the “Documents” link on the website.
        The Settlement Agreement describes the released claims with specific descriptions, so read it
        carefully. If you have any questions you can talk to the lawyers listed in Question 12 for free
        or you can, of course, talk to your own lawyer if you have questions about what this means.

11.   What happens if I do nothing at all?


        If you do nothing, you won’t get any benefits from this Settlement. If you don’t exclude
        yourself, or “opt out,” you won’t be able to start a lawsuit or be part of any other lawsuit
        against the Defendants for the claims being resolved by this Settlement.

                                        The Lawyers Representing You

12.   Do I have a lawyer in the case?


        The Court has appointed Brandon Wise and Adam Florek of Peiffer Wolf Carr Kane Conway
        & Wise, LLP and Michael Murphy and Patrick Muench of Bailey & Glasser, LLP to be the
        attorneys representing the Settlement Class. They are called “Class Counsel.” They believe,
        after conducting an extensive investigation, that the Settlement Agreement is fair, reasonable,
        and in the best interests of the Settlement Class. You will not be charged for these lawyers. If
        you want to be represented by your own lawyer in this case, you may hire one at your expense.

13.   How will the lawyers be paid?


        Class Counsel’s attorneys’ fees, costs, and expenses will be paid from the Settlement Fund in
        an amount determined and awarded by the Court. Class Counsel is entitled to seek no more
        than one‑third of the $16 million Settlement Benefit, but the Court may award less than this
        amount.
        As approved by the Court, the Class Representatives will be paid an Incentive Award from
        the Settlement Fund for helping to bring and settle the case. The Class Representatives will
        seek no more than $5,000 each as an incentive award, but the Court may award less than this
        amount.




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                                 Excluding Yourself from the Settlement

14.   How do I get out of the Settlement?


        To exclude yourself from the Settlement, you must mail or otherwise deliver a letter (or
        request for exclusion) stating that you want to be excluded from the Beltran, et al. v. Sony
        Pictures Entertainment Inc. d/b/a Crunchyroll, Case No. 1:22-cv-04858 settlement. Your
        letter or request for exclusion must also include your name, your address, your signature, the
        name and number of this case, and a statement that you wish to be excluded. You must mail
        or deliver your exclusion request no later than November 27, 2023, to:

                                   Kroll Settlement Administration LLC
                                     [CONTACT INFORMATION]




15.   If I don’t exclude myself, can I sue the Defendant for the same thing later?


        No. Unless you exclude yourself, you give up any right to sue the Defendant for the claims
        being resolved by this Settlement.

16.   If I exclude myself, can I get anything from this Settlement?


        No. If you exclude yourself, do not submit a Claim Form to ask for benefits.
                                        Objecting to the Settlement

17.   How do I object to the Settlement?


        If you’re a Class Member, you can object to the Settlement if you don’t like any part of it.
        You can give reasons why you think the Court should not approve it. The Court will consider
        your views. To object, you must file with the Court a letter or brief stating that you object to
        the Settlement in Beltran, et al. v. Sony Pictures Entertainment, Inc. d/b/a Crunchyroll , Case
        No. 1:22‑cv‑04858 and identify all your reasons for your objections (including citations and
        supporting evidence) and attach any materials you rely on for your objections. Your letter or
        brief must also include your name, an explanation of the basis upon which you claim to be a
        Settlement Class Member, the name and contact information of any and all attorneys
        representing, advising, or in any way assisting you in connection with your objection, and
        your signature. If you, or an attorney assisting you with your objection, have ever objected to
        any class action settlement where you or the objecting attorney has asked for or received
        payment in exchange for dismissal of the objection (or any related appeal) without
        modification to the settlement, you must include a statement in your objection identifying
        each such case by full case caption. You must also mail or deliver a copy of your letter or
        brief to Class Counsel and Defendant’s Counsel listed below.
        Class Counsel will file with the Court and post on this website its request for attorneys’ fees




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        by December 7, 2023.
        If you want to appear and speak at the Final Approval Hearing to object to the Settlement,
        with or without a lawyer (explained below in answer to Question Number 21), you must say
        so in your letter or brief. File the objection with the Court and mail a copy to Class Counsel
        and Defendant’s Counsel at the addresses below postmarked no later than November 27,
        2023.

      Court                              Class Counsel                        Defendant’s Counsel
      The Hon. Sara L. Ellis             Brandon M. Wise                      William F. Farley
      Courtroom 1403                     Adam J. Florek                       Rachel Agius
                                         Peiffer Wolf Carr Kane Conway        Holland & Knight LLP
      Everett McKinley Dirksen           & Wise, LLP
      United States Courthouse                                                150 North Riverside Plaza
                                         73 W. Monroe                         Suite 2700
      219 South Dearborn Street          5th Floor
      Chicago, IL 60604                                                       Chicago, IL 60606
                                         Chicago, IL 60604
                                                                              Mark S. Melodia
                                         Michael L. Murphy                    Holland & Knight LLP
                                         Patrick Muench                       31 West 52nd Street
                                         Bailey & Glasser LLP                 Floor 2
                                         1055 Thomas Jefferson Street         New York, NY 10019
                                         NW
                                         Suite 540
                                         Washington, DC 20007

18.   What’s the difference between objecting and excluding myself from the Settlement?


        Objecting simply means telling the Court that you don’t like something about the Settlement.
        You can object only if you stay in the Class. Excluding yourself from the Class is telling the
        Court that you don’t want to be part of the Class. If you exclude yourself, you have no basis
        to object because the case no longer affects you.
                                   The Court’s Final Approval Hearing

19.   When and where will the Court decide whether to approve the Settlement?


        The Court will hold the Final Approval Hearing on December 19, 2023, in Courtroom 1403
        at Everett McKinely Dirksen United States Courthouse, 219 South Dearborn Street, Chicago,
        Illinois 60604. The purpose of the hearing will be for the Court to determine whether to
        approve the Settlement as fair, reasonable, adequate, and in the best interests of the Class; to
        consider the Class Counsel’s request for attorneys’ fees and expenses; and to consider the
        request for an incentive award to the Class Representatives. At that hearing, the Court will be
        available to hear any objections and arguments concerning the fairness of the Settlement.
        The hearing may be postponed to a different date or time without notice, so it is a good idea
        to check www.crunchyrollvppasettlement.com or call XXX-XXX-XXXX. If, however,
        you timely objected to the Settlement and advised the Court that you intend to appear and
        speak at the Final Approval Hearing, you will receive notice of any change in the date of such
        Final Approval Hearing.




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20.   Do I have to come to the hearing?


        No. Class Counsel will answer any questions the Court may have. You are welcome,
        however, to attend the hearing at your own expense. If you send an objection or comment,
        you don’t have to come to Court to talk about it. As long as you filed and mailed your written
        objection on time, the Court will consider it. You may also pay another lawyer to attend, but
        it’s not required.

21.   May I speak at the hearing?


        Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do so, you
        must include in your letter or brief objecting to the settlement a statement saying that it is
        your “Notice of Intent to Appear in Beltran, et al. v. Sony Pictures Entertainment, Inc. d/b/a
        Crunchyroll, Case No. 1:22‑cv‑04858.” It must include your name, address, telephone
        number and signature as well as the name and address of your lawyer, if one is appearing for
        you. Your objection and notice of intent to appear must be filed with the Court and
        postmarked no later than November 27, 2023, and be sent to the addresses listed in Question
        17.
                                        Getting More Information

22.   Where do I get more information?


        This Notice summarizes the Settlement. More details are in the Settlement Agreement. You
        can get a copy of the Settlement Agreement at www.crunchyrollvppasettlement.com. You
        may also write with questions to Crunchyroll Privacy Settlement,
           . You can call the Settlement Administrator at XXX-XXX-XXXX or Class Counsel at
        1‑314-888-4827, if you have any questions. Before doing so, however, please read this full
        Notice carefully. You may also find additional information elsewhere on the case website.




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